     Fill in this information to identify your case:

 United States Bankruptcy Court for the:                                                                           ~--
                                                                                                                   r""""'
                                                                                                                   i
     Southern District of Ohio

     Case number (It known): _ _ _ _ _ _ _ _ _ _ _ Chapter you are filing under:                          20i9 NOl/ -6                 11: 28
                                                                     ilf Chapter?
                                                                     CJ   Chapter 11
                                                                     CJ   Chapter 12                               r,- .
                                                                     CJ   Chapter 13                               '-'              D Check if this is an
                                                                                                                                      amtfnded filing

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                    12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint case-and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
 Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
 same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


•if I         Identify Yourself

                                        About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name
      Write the name that is on your
      government-issued picture
                                         Troy
                                         First name                                                    First name
      identification (for example,
      your driver's license or           Dorrell
      passport).                         Middle name                                                   Middle name

       Bring your picture                Myers
       identification to your meeting    Last name                                                     Last name
       with the trustee.
                                        Suffix (Sr., Jr., II, Ill)                                     Suffix (Sr., Jr., 11, Ill)




2.     All other names you
       have used in the last 8           First name                                                    First name
       years
       Include your married or           Middle name                                                   Middle name
       maiden names.
                                         Last name                                                     Last name



                                         First name                                                    First name


                                         Middle name                                                   Middle name


                                         Last name                                                     Last name




3. Only the last 4 digits of
       your Social Security             XXX      - xx - _3_ _3_ _o
                                                                 _ __1__                              XXX       - xx -        --------
       number or federal                OR                                                             OR
       Individual Taxpayer
       Identification number            9xx-xx- - - - - - - - -                                        9xx - xx               --------
       (ITIN)

Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                  page 1
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Debtor 1      'lwu         (])orr:W                 mVern                                       Case number (if   known)'------------------

                                  About Debtor 1 :                                                   About Debtor 2 (Spouse Only in a Joint Case):


4.    Any business names
      and Employer                ~ I have not used any business names or EINs.                       D I have not used any business names or EINs.
      Identification Numbers
      (EIN) you have used in
      the last 8 years            Business name                                                      Business name

      Include trade names and
      doing business as names                                                                        Business name
                                  Business name



                                  EIN-                                                               EIN-



                                  EIN-                                                               EIN-




5.    Where you live                                                                                 If Debtor 2 lives at a different address:



                                  8055 Mt. Aetna St.
                                  Number          Street                                              Number          Street




                                  Huber Heights                             OH        45424
                                  City                                      State    ZIP Code        City                                      State     ZIP Code

                                  Montgomery
                                  County                                                             County


                                  If your mailing address is different from the one                  If Debtor 2's mailing address is different from
                                  above, fill it in here. Note that the court will send              yours, fill it in here. Note that the court will send
                                  any notices to you at this mailing address.                        any notices to this mailing address.



                                  Number          Street                                             Number           Street



                                  P.O. Box                                                            P.O. Box


                                  City                                     State     ZIP Code        City                                      State    ZIP Code




6.    Why you are choosing        Check one:                                                         Check one:
      this district to file for
      bankruptcy                  liZ'.i Over the last 180 days before filing this petition,         D Over the last 180 days before filing this petition,
                                         I have lived in this district longer than in any                   I have lived in this district longer than in any
                                         other district.                                                    other district.

                                  D      I have another reason. Explain.                             D I have another reason. Explain.
                                         (See 28 U.S.C. § 1408.)                                            (See 28 U.S.C. § 1408.)




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    Debtor 1      ~YbU ~rtll '"""[)'lyres                                                     Case number (if   known)'-------------------

-                  Tell the Court About Your Banknlptcy case


    7.    The chapter of the          Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
          Bankruptcy Code you         for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
          are choosing to file
                                      ~ Chapter?
          under
                                      D Chapter 11
                                      D Chapter 12
                                      D Chapter 13

    s. How you will pay the fee       D I will pay the entire fee when I file my petition.Please check with the clerk's office in your
                                         local court for more details about how you may pay. Typically, if you are paying the fee
                                         yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                         submitting your payment on your behalf, your attorney may pay with a credit card or check
                                         with a pre-printed address.

                                      DI need to pay the fee in installments.    If you choose this option, sign and attach the
                                         Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                      '2l I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                         By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                         less than 150% of the official poverty line that applies to your family size and you are unable to
                                         pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                         Chapter 7 Filing Fee Waived (Official Form 1038) and file it with your petition.


    9.    Have you filed for          '2) No
          bankruptcy within the
          last 8 years?               DYes.     District                             When                        Case number
                                                                                             MM/ DD/YYYY

                                               District                              When                        Case number
                                                                                             MM/ DD/YYYY

                                               District                              When                        Case number
                                                                                             MM/ DD/YYYY



    10. Are any bankruptcy            ~ No
          cases pending or being
          filed by a spouse who is    DYes.    Debtor                                                            Relationship to you
          not filing this case with            District                              When                        Case number, if known
          you, or by a business                                                              MM/ DD /YYYY
          partner, or by an
          affiliate?
                                               Debtor                                                            Relationship to you

                                               District                              When                        Case number, if known
                                                                                             MM/ DD /YYYY



    11. Do you rent your              DNo.  Go to line 12.
          residence?                  ~Yes. Has your landlord obtained an eviction judgment against you?

                                               ~ No. Go to line 12.
                                               D    Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                    part of this bankruptcy petition.




         Official Form 101                     Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
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Debtor 1     '1roy J)~rrelJ .()1)Jert;                                                             Case number (ifkn=n),._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




              Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor           '21 No. Go to Part 4.
      of any full- or part-time
      business?                         D Yes.   Name and location of business
      A sole proprietorship is a
      business you operate as an
                                                 Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or
                                                 Number         Street
      LLC.
      If you have more than one
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.
                                                  City                                                    State       ZIP Code


                                                 Check the appropriate box to describe your business:
                                                 D   Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                 D   Single Asset Real Estate (as defined in 11 U.S.C. § 101(518))

                                                 D   Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                 D   Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                 D   None of the above


13. Are you filing under                If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                 can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and               most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                        any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1 )(8).
      are you a small business
      debtor?
                                        D No.    I am not filing under Chapter 11.
      For a definition of small
      business debtor, see              D No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(510).                      the Bankruptcy Code.

                                        D Yes.   I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                 Bankruptcy Code.


              Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14.   Do you own or have any            '2J No
      property that poses or is
      alleged to pose a threat          D Yes.    What is the hazard?
      of imminent and
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs                         If immediate attention is needed, why is it needed? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
      immediate attention?
      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                  Where is the property? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                            Number        Street




                                                                            City                                          State      ZIP Code


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Debtor 1       lrc1v CDDrreLI .m)J(YJ8                                                                Case number (if known,__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




              Explain Your Efforts to Receive a Briefing About Credit Counseling

                                        About Debtor 1 :                                                   About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit             You must check one:                                                 You must check one:
      counseling.                                                                                          D
                                        laa' I received a briefing from an approved credit                      I received a briefing from an approved credit
                                            counseling agency within the 180 days before I                      counseling agency within the 180 days before I
      The law requires that you             filed this bankruptcy petition, and I received a                    filed this bankruptcy petition, and I received a
      receive a briefing about credit       certificate of completion.                                          certificate of completion.
      counseling before you file for
                                            Attach a copy of the certificate and the payment                    Attach a copy of the certificate and the payment
      bankruptcy. You must
                                            plan, if any, that you developed with the agency.                   plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you
      cannot do so, you are not
                                        D   I received a briefing from an approved credit                   D   I received a briefing from an approved credit
                                            counseling agency within the 180 days before I                      counseling agency within the 180 days before I
      eligible to file.                                                                                         filed this bankruptcy petition, but I do not have a
                                            filed this bankruptcy petition, but I do not have a
                                            certificate of completion.                                          certificate of completion.
      If you file anyway, the court
                                            Within 14 days after you file this bankruptcy petition,             Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                            you MUST file a copy of the certificate and payment                 you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                            plan, if any.                                                       plan, if any.
      you paid, and your creditors
      can begin collection activities   D   I certify that I asked for credit counseling                    D   I certify that I asked for credit counseling
      again.                                services from an approved agency, but was                           services from an approved agency, but was
                                            unable to obtain those services during the 7                        unable to obtain those services during the 7
                                            days after I made my request, and exigent                           days after I made my request, and exigent
                                            circumstances merit a JO-clay temporary waiver                      circumstances merit a 30-clay temporary waiver
                                            of the requirement.                                                 of the requirement.
                                            To ask for a 30-day temporary waiver of the                         To ask for a 30-day temporary waiver of the
                                            requirement, attach a separate sheet explaining                     requirement, attach a separate sheet explaining
                                            what efforts you made to obtain the briefing, why                   what efforts you made to obtain the briefing, why
                                            you were unable to obtain it before you filed for                   you were unable to obtain it before you filed for
                                            bankruptcy, and what exigent circumstances                          bankruptcy, and what exigent circumstances
                                            required you to file this case.                                     required you to file this case.

                                            Your case may be dismissed if the court is                          Your case may be dismissed if the court is
                                            dissatisfied with your reasons for not receiving a                  dissatisfied with your reasons for not receiving a
                                            briefing before you filed for bankruptcy.                           briefing before you filed for bankruptcy.
                                            If the court is satisfied with your reasons, you must               If the court is satisfied with your reasons, you must
                                            still receive a briefing within 30 days after you file.             still receive a briefing within 30 days after you file.
                                            You must file a certificate from the approved                       You must file a certificate from the approved
                                            agency, along with a copy of the payment plan you                   agency, along with a copy of the payment plan you
                                            developed, if any. If you do not do so, your case                   developed, if any. If you do not do so, your case
                                            may be dismissed.                                                   may be dismissed.
                                            Any extension of the 30-day deadline is granted                     Any extension of the 30-day deadline is granted
                                            only for cause and is limited to a maximum of 15                    only for cause and is limited to a maximum of 15
                                            days.                                                               days.

                                        D   I am not required to receive a briefing about                  D I am not required to receive a briefing about
                                            credit counseling because of:                                       credit counseling because of:

                                            D   Incapacity.    I have a mental illness or a mental              D Incapacity.      I have a mental illness or a mental
                                                               deficiency that makes me                                            deficiency that makes me
                                                               incapable of realizing or making                                    incapable of realizing or making
                                                               rational decisions about finances.                                  rational decisions about finances.
                                            D   Disability.    My physical disability causes me                 D Disability.      My physical disability causes me
                                                               to be unable to participate in a                                    to be unable to participate in a
                                                               briefing in person, by phone, or                                    briefing in person, by phone, or
                                                               through the internet, even after I                                  through the internet, even after I
                                                               reasonably tried to do so.                                          reasonably tried to do so.
                                            D   Active duty. I am currently on active military                  D   Active duty. I am currently on active military
                                                             duty in a military combat zone.                                     duty in a military combat zone.
                                            If you believe you are not required to receive a                    If you believe you are not required to receive a
                                            briefing about credit counseling, you must file a                   briefing about credit counseling, you must file a
                                            motion for waiver of credit counseling with the court.              motion for waiver of credit counseling with the court.




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Debtor 1    /(l)v 'J)om-11                            mlifrEJ                                   Case number (if known,__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




             Answer These Questions for Reporting Purposes

                                    16a. Are your debts primarily consumer debts? Consumer debts are defined in 11                    u.s.c. § 101(8)
16.   What kind of debts do              as "incurred by an individual primarily for a personal, family, or household purpose."
      you have?
                                          D     No. Go to line 16b.
                                          '21   Yes. Go to line 17.

                                    16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                         money for a business or investment or through the operation of the business or investment.
                                          D     No. Go to line 16c.
                                          D     Yes. Go to line 17.

                                    16c. State the type of debts you owe that are not consumer debts or business debts.



17.   Are you filing under
      Chapter7?                     D    No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after    0    Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is                  administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                              ~ No
      administrative expenses
      are paid that funds will be               D   Yes
      available for distribution
      to unsecured creditors?

1s. How many creditors do           D 1-49                                  D   1,000-5,ooo                            D 25,001-50,000
      you estimate that you         0 50-99                                 D   5,001-10,000                           D 50,001-100,000
      owe?                          D 100-199                               D   10,001-25,000                          D More than 100,000
                                    D 200-999
19.   How much do you               0 $0-$50,000                            D $1,000,001-$10 million                   D $500,000,001-$1 billion
      estimate your assets to       D $50,001-$100,000                      D $10,000,001-$50 million                  D $1,000,000,001-$10 billion
      be worth?                     D $100,001-$500,000                     D $50,000,001-$100 million                 D $10,000,000,001-$50 billion
                                    D $500,001-$1 million                   D $100,000,001-$500 million                D More than $50 billion
20.   How much do you               D $0-$50,000                            D $1,000,001-$10 million                   D $500,000,001-$1 billion
      estimate your liabilities     0 $50,001-$100,000                      D $10,000,001-$50 million                  D $1,000,000,001-$10 billion
      to be?                        D $100,001-$500,000                     D $50,000,001-$100 million                 D $10,000,000,001-$50 billion
                                    D $500,001-$1 million                   D $100,000,001-$500 million                D More than $50 billion
•§fl         Sign Below

                                    I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                             correct.

                                    If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12, or 13
                                    of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                    under Chapter 7.

                                    If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                    this document, I have obtained and read the notice required by 11 U.S.C. § 342{b).
                                    I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                    I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                    with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                    18 U.S.C. §§ 152, 1341, 1519, and 3571.
                                          L/21
                                    JC                                                             JC
                                                                                                        Signature of Debtor 2

                                        Executed on / /     /:b/4)019'                                  Executed on _ _ _ _ _ __
                                                                  D /YYYY                                             MM / DD      /YYYY


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Debtor 1    ffoy ~r~l I . O::hter6                                                         Case number (ff known). _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                                I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are   to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one              available under each chapter for 'Nhich the person is eligible. I also certify that I have delivered to the debtor(s)
                                the notice required by 11 U.S.C. § 342(b) and, in a case in 'Nhich § 707(b)(4)(D) applies, certify that I have no
If you are not represented      knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                JC                                                                  Date
                                     Signature of Attorney for Debtor                                              MM         DD /YYYY




                                     Printed name



                                   Firm name



                                     Number     Street




                                     City                                                          State           ZIP Code




                                     Contact phone _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                  Email address




                                     Bar number                                                    State




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Debtor 1    IYoy J1rre.J I m'YCrs                                                           Case number (if known)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




For you if you are filing this       The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an                should understand that many people find it extremely difficult to represent
attorney                             themselves successfully. Because bankruptcy has long-term financial and legal
                                     consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not              To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.              technical, and a mistake or inaction may affect your rights. For example, your case may be
                                     dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                     hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                     firm if your case is selected for audit. If that happens, you could lose your right to file another
                                     case, or you may lose protections, including the benefit of the automatic stay.

                                     You must list all your property and debts in the schedules that you are required to file with the
                                     court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                     in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                     property or property claim it as exempt, you may not be able to keep the property. The judge can
                                     also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                     case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                     cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                     Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                     If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                     hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                     successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                     Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                     be familiar with any state exemption laws that apply.

                                     Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                     consequences?
                                     D      No
                                     li2I   Yes

                                     Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                     inaccurate or incomplete, you could be fined or imprisoned?
                                     D      No
                                     l;a Yes
                                     Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                     fi2I   No
                                     D      Yes. Name of Person_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                 Attach Bankruptcy Petition Preparers Notice, Declaration, and Signature (Official Form 119).



                                     By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                     have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                     attorney may cause me to lose my rights or property if I do not properly handle the case.


                                 X                                                              X
                                     ------Z---~                                                    Signature of Debtor 2

                                     Date
                                                      l!/fh~
                                     Contact phone _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                    Date
                                                                                                                     MM/ DD /YYYY

                                                                                                    Contact phone

                                     Cell phone                                                     Cell phone

                                     Email address                                                  Email address



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      Fill in tllis information to identify your case and this filing:


      Debtor 1             Troy Dorrell Myers
                           First Name                   Middle Name               Last Name

      Debtor2
      (Spouse, if filing) First Name                    Middle Name               Last Name


      United States Bankruptcy Court for the: Southern District of Ohio

      Case number
                                                                                                                                                          0   Check if this is· an ·
                                                                                                                                                              amended filing

      Official Form 106A/B
      Schedule A/B: Property                                                                                                                                             12/15
      In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
      category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
      responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
      write your name and case number (if known). Answer every question.

                     Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

     1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

          liZf   No. Go to Part 2.
          D      Yes. Where is the property?
                                                                           What is the property? Check all that apply.
                                                                                                                                 Do not deduct secured claims or exemptions. Put
                                                                           D    Single-family home                               the amount of any secured claims on Schedule D:
            1.1.                                                                                                                 Creditors Who Have Claims Secured by Property.
                    Street address, if available, or other description
                                                                           D    Duplex or multi-unit building
                                                                           D    Condominium or cooperative                       Current value of the         Current value of the
                                                                           D    Manufactured or mobile home                      entire property?             portion you own?
                                                                           D    Land                                             $_ _ _ _ _                   $ _ _ _ __
                                                                           D    Investment property
                                                                           D    Timeshare                                        Describe the nature of your ownership
                    City                            State      ZIP Code                                                          interest (such as fee simple, tenancy by
                                                                           D    Other _ _ _ _ _ _ _ _ _ _ __
                                                                                                                                 the entireties, or a life estate), if known.
                                                                           Who has an interest in the property? Check one.
                                                                           D Debtor 1 only
                    County                                                 D Debtor 2 only                                                                                           -~-.-,,,:.,,;~
                                                                           D Debtor 1 and Debtor 2 only                          0   Check if this is community property
                                                                                                                                     (see instructions)
                                                                           D At least one of the debtors and another
                                                                           Other information you wish to add about this item, such as local
                                                                           property identification number: _ _ _ _ _ _ _ _ _ _ _ _ __
          If you own or have more than one, list here:
                                                                          What is the property? Check all that apply.
                                                                                                                                 Do not deduct secured claims or exemptions. Put
                                                                          D    Single-family home                                the amount of any secured claims on Schedule D:
            1.2.                                                                                                                 Creditors Who Have Claims Secured by Property.
                    Street address, if available, or other description
                                                                          D    Duplex or multi-unit building
                                                                          D    Condominium or cooperative                        Current value of the         Current value of the
                                                                          D    Manufactured or mobile home                       entire property?             portion you own?
                                                                          D    Land                                              $ _ _ _ __                   $ _ _ _ _ __
                                                                          CJ   Investment property
                                                                          D    Timeshare
                                                                                                                                 Describe the nature of your ownership
                   City                             State      ZIP Code                                                          interest (such as fee simple, tenancy by
                                                                          D    Other _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                                                 the entireties, or a life estate), if known.
                                                                          Who has an interest in the property? Check one.
                                                                          D Debtor 1 only
                    County                                                D Debtor 2 only
                                                                          D Debtor 1 and Debtor 2 only                           0   Check if this is community property
                                                                          D At least one of the debtors and another                  (see instructions)

                                                                          Other information you wish to add about this item, such as local
                                                                          property identification number: _ _ _ _ _ _ _ _ _ _ _ __


.___ 9fficial Form 106A/B                  Document     Page 9 of 68      Schedule A/B: Property                                                                     page~ - · :~., .e,,,, _ _
                   Desc Main               Filed 11/06/19 Entered 11/06/19 11:34:24                                      Doc 1       Case 3:19-bk-33451
 Debtor 1            Troi_porrell Myers                                                                       Case number (iflr.nown), _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                      First Name    Middle Name            Last Name




                                                                       What is the property? Check all that apply.             Do not deduct secured claims or exemptions. Put
                                                                                                                               the amount of any secured claims on Schedule D:
      1.3.
                                                                       D   Single-family home
                                                                                                                               Creditors Who Have Claims Secured by Property.
              Street address, if available, or other description       D   Duplex or multi-unit building
                                                                       D   Condominium or cooperative
                                                                                                                               Current value of the     Current value of the
                                                                                                                               entire property?         portion you own?
                                                                       D   Manufactured or mobile home
                                                                                                                               $ _ _ _ __               $ _ _ _ _ __
                                                                       D   Land
                                                                       D   Investment property
                                                                                                                               Describe the nature of your ownership
              City                            State     ZIP Code       D   Timeshare
                                                                                                                               interest (such as fee simple, tenancy by
                                                                       D   Other _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                                               the entireties, or a life estate), if known.
                                                                       Who has an interest in the property? Check one.
                                                                       0   Debtor 1 only
              County
                                                                       D Debtor 2 only
                                                                       0   Debtor 1 and Debtor 2 only                          CJ Check if this is community property
                                                                                                                                   (see instructions)
                                                                       0   At least one of the debtors and another

                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number: _ _ _ _ _ _ _ _ _ _ _ _ __



2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                     $
   you have attached for Part 1. Write that number here.......................................................................................   +       --------1




Im                Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.   Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
     iaa No
     D      Yes


     3.1.     Make:                                                    Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
                                                                                                                               the amount of any secured claims on Schedule D:
              Model:                                                   0   Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
                                                                       D Debtor 2 only
              Year:                                                                                                            Current value of the      Current value of the
                                                                       D Debtor 1 and Debtor 2 only
              Approximate mileage:                                                                                             entire property?          portion you own?
                                                                       D At least one of the debtors and another
              Other information:
                                                                                                                               $_ _ _ _ _                $ _ _ _ __
                                                                       D Check if this is community property (see
                                                                           instructions)



     If you own or have more than one, describe here:

     3.2.     Make:                                                    Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
                                                                                                                               the amount of any secured claims on Schedule D:
              Model:                                                   0   Debtor 1 only
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                       D   Debtor 2 only
              Year:                                                                                                            Current value of the      Current value of the
                                                                       D   Debtor 1 and Debtor 2 only
                                                                                                                               entire property?          portion you own?
              Approximate mileage:                                     0   At least one of the debtors and another
              Other information:
                                                                                                                               $ _ _ _ __                $ _ _ _ __
                                                                       D Check if this is community property (see
                                                                           instructions)




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              Desc Main                Filed 11/06/19 Entered 11/06/19 11:34:24                                       Doc 1        Case 3:19-bk-33451
 Debtor 1          Troy_ Dorrell Myers                                                             Case number (if knownJ, _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                     First Name   Middle Name     Last Name




     3.3.       Make:                                         Who has an interest in the property? Check one.      Do not deduct secured claims or exemptions. Put
                                                                                                                   the amount of any secured claims on Schedule D:
                Model:                                        D Debtor 1 only                                      Creditors Who Have Claims Secured by Property.
                                                              D Debtor 2 only
             Year:                                                                                                 Current value of the      Current value of the
                                                              D Debtor 1 and Debtor 2 only
             Approximate mileage:                                                                                  entire property?          portion you own?
                                                              D At least one of the debtors and another
             Other information:
                                                                                                                   $ _ _ _ __                $ _ _ _ __
                                                              D Check if this is community property (see
                                                                 instructions)


    3.4.     Make:                                            Who has an interest in the property? Check one.      Do not deduct secured claims or exemptions. Put
                                                                                                                   the amount of any secured claims on Schedule D:
             Model:                                           D Debtor 1 only                                      Creditors Who Have Claims Secured by Property.
                                                              D Debtor 2 only
             Year:                                                                                                 Current value of the      Current value of the
                                                              D Debtor 1 and Debtor 2 only
             Approximate mileage:                                                                                  entire property?          portion you own?
                                                              D At least one of the debtors and another
             Other information:
                                                                                                                   $ _ _ _ _ __              $ _ _ _ _ __
                                                              CJ Check if this is community property (see
                                                                 instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
    liZI   No
   D       Yes


    4.1.     Make:                                            Who has an interest in the property? Check one.      Do not deduct secured claims or exemptions. Put
                                                                                                                   the amount of any secured claims on Schedule D:
             Model:                                           D Debtor 1 only                                      Creditors Who Have Claims Secured by Property.
                                                              D Debtor 2 only
             Year:
                                                              D Debtor 1 and Debtor 2 only                         Current value of the      Current value of the
             Other information:                               D At least one of the debtors and another            entire property?          portion you own?

                                                              D Check if this is community property (see           $ _ _ _ __                $ _ _ _ __
                                                                 instructions)



   If you own or have more than one, list here:

    4.2.     Make:                                            Who has an interest in the property? Check one.      Do not deduct secured claims or exemptions. Put
                                                                                                                   the amount of any secured claims on Schedule D:
             Model:                                           D Debtor 1 only                                      Creditors Who Have Claims Secured by Property.
                                                              D Debtor 2 only
             Year:                                                                                                 Current value of the      Current value of the
                                                              D Debtor 1 and Debtor 2 only                         entire property?          portion you own?
             Other information:                               D At least one of the debtors and another
                                                                                                                   $ _ _ _ __                $ _ _ _ __
                                                              D Check if this is community property (see
                                                                 instructions)




5. : : :    =~::=;::o~P= r:: ~"::t:::~~: Y<>tJ' en~les"<lln ~3.rt ~ i".~udl~ ~ny entriesf~~ 1>'111""                                 _. ~--------




 Official Form 106NB               Document      Page 11 of 68Schedule A/B: Property                                                                page3
                Desc Main           Filed 11/06/19 Entered 11/06/19 11:34:24                              Doc 1        Case 3:19-bk-33451
  Debtor 1           Troy Dorrell Myers                                                                                                      Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                       First Name           Middle Name                 Last Name




                 Describe Your Personal and Household Items

                                                                                                                                                                                                Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                                                                                portion you own?
                                                                                                                                                                                                Do not deduct secured claims
                                                                                                                                                                                                or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
     D No
     !ill Yes. Describe......... Washer, Dryer, Furniture                                                                                                                                         $             1,950.00

7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                      collections; electronic devices including cell phones, cameras, media players, games
     D No
     ~     Yes. Describe.·········         LG 42' TV, LG 32' TV, Apple iPhone                                                                                                                    $                 360.00

a. Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                      stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
     fia No
     D     Yes. Describe ......... .                                                                                                                                                             $ _ _ _ _ __


9. Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                      and kayaks; carpentry tools; musical instruments
     I.a No
     D Yes. Describe ......... .                                                                                                                                                                 $ _ _ _ _ __


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
     fia No
     D     Yes. Describe ......... .                                                                                                                                                             $ _ _ _ _ __


11.Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
     D No
     ~ Yes. Describe .......... clothes, shoes                                                                                                                                                   $                300.00


12.Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
               gold, silver
     D No
     lia Yes. Describe ........... Gold necklace                                                                                                                                                 $                  25.00

13. Non-farm animals
     Examples: Dogs, cats, birds, horses
     fia No
     D    Yes. Describe .......... .                                                                                                                                                             $ _ _ _ _ __


14.Any other personal and household items you did not already list, including any health aids you did not list

     fia No
     D    Yes. Give specific
                                                                                                                                                                                                 $ _ _ _ _ __
          information .............. .

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                                                                                 $              2,635.00
    for Part 3. Write that number here .................................................................................................................................................... ~



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               Desc Main                       Filed 11/06/19 Entered 11/06/19 11:34:24                                                                  Doc 1              Case 3:19-bk-33451
    Debtor 1            Troy Dorrell Myers                                                                                                                          Case number (If known)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                          First Name               Middle Name                      Last Name




-                   Describe Your Flnanclal Assets

    Do you own or have any legal or equitable interest In any of the following?                                                                                                                                        Current value of the
                                                                                                                                                                                                                       portion you own?
                                                                                                                                                                                                                       Do not deduct secured claims
                                                                                                                                                                                                                       or exemptions.


    16.Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

       1;21 No
       Cl    Yes ................................................................................................................................................................      Cash: .......................    $ _ _ _ _ _ _ __




    17. Deposits of money
        Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                  and other similar institutions. If you have multiple accounts with the same institution, list each.

       D     No
       ~ Yes .................... .                                                                     Institution name:


                                                   17.1. Checking account:                              PNC Bank                                                                                                        $                  0.00
                                                   17.2. Checking account:                                                                                                                                              $ _ _ _ _ __

                                                   17.3. Savings account:                                                                                                                                               $_ _ _ _ _ _

                                                   17.4. Savings account:                                                                                                                                               $ _ _ _ _ __

                                                   17.5. Certificates of deposit:                                                                                                                                       $ _ _ _ _ __

                                                   17.6. Other financial account:                                                                                                                                       $ _ _ _ _ __

                                                   17.7. Other financial account:                                                                                                                                       $_ _ _ _ __

                                                   17.8. Other financial account:                                                                                                                                       $_ _ _ _ __

                                                   17.9. Other financial account:                                                                                                                                       $_ _ _ _ _ _




    18. Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts
       .zl   No
       D     Yes ................ .                Institution or issuer name:

                                                                                                                                                                                                                        $ _ _ _ _ __

                                                                                                                                                                                                                        $ _ _ _ _ __

                                                                                                                                                                                                                        $ _ _ _ _ __




    19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
        an LLC, partnership, and joint venture

       ~     No                                    Name of entity:                                                                                                                     % of ownership:
       Cl    Yes. Give specific                                                                                                                                                        0%                %              $ _ _ _ _ __
             information about
             them ........................ .                                                                                                                                           0%                %              $ _ _ _ _ __

                                                                                                                                                                                       0%                %              $ _ _ _ _ __




    Official Form 106A/B                             Document      Page 13 of 68                      Schedule A/B: Property                                                                                                         page 5
                  Desc Main                           Filed 11/06/19 Entered 11/06/19 11:34:24                                                                                      Doc 1        Case 3:19-bk-33451
 Debtor 1        Troy Dorrell Myers                                                                  Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                    First Name           Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

    ~ No
    D Yes. Give specific                 Issuer name:
       information about                                                                                                                 $ _ _ _ _ __
       them ...................... .
                                                                                                                                         $ _ _ _ _ __
                                                                                                                                         $ _ _ _ _ __



21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

   ~ No
   D   Yes. List each
       account separately.               Type of account:          Institution name:

                                         401(k) or similar plan:   __________________________                                            $ _ _ _ _ _ _ __

                                         Pension plan:             __________________________                                            $ _ _ _ _ _ _ __


                                         !RA:                      ----------------------------                                          $ _ _ _ _ _ _ _ __
                                         Retirement account:       ____________________________                                          $_ _ _ _ _ _ _ __

                                         Keogh:                    ____________________________                                          $ _ _ _ _ _ _ _ __

                                         Additional account:       ____________________________                                          $ _ _ _ _ _ _ _ __

                                         Additional account:       ____________________________                                          $ _ _ _ _ _ _ _ __




22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   i;a No
   D   Yes ......................... .                         Institution name or individual:

                                         Electric:                                                                                      $ _ _ _ _ __

                                         Gas:                                                                                           $_ _ _ _ _ _

                                         Heating oil:                                                                                   $ _ _ _ _ __
                                         Security deposit on rental unit: ___________________________                                   $ _ _ _ _ __

                                         Prepaid rent:                                                                                  $ _ _ _ _ __
                                         Telephone:                                                                                     $ _ _ _ _ __

                                         Water:                                                                                         $ _ _ _ _ __
                                         Rented furniture:                                                                              $ _ _ _ _ __

                                         Other:                                                                                         $ _ _ _ _ __



23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   ~   No

   D   Yes..........................     Issuer name and description:
                                                                                                                                        $ _ _ _ _ __

                                                                                                                                        $ _ _ _ _ __
                                                                                                                                        $ _ _ _ _ __



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            Desc Main                       Filed 11/06/19 Entered 11/06/19 11:34:24                        Doc 1        Case 3:19-bk-33451
 Debtor 1          Troy Dorrell Myers                                                                            Case number (ifknown), _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                      First Name            Middle Name           Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   liZI   No
   D      Yes ....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                                                                                                                          $ _ _ _ _ __

                                                                                                                                                          $ _ _ _ _ __

                                                                                                                                                          $ _ _ _ _ __



25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   liZI   No
   D      Yes. Give specific
          information about them ....                                                                                                                     $_ _ _ _ __



26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   liZI   No
   D      Yes. Give specific
          information about them ....                                                                                                                     $ _ _ _ _ __



27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
   liZI   No
   D      Yes. Give specific
          information about them ....                                                                                                                     $ _ _ _ _ __



Money or property owed to you?                                                                                                                            Current value of the
                                                                                                                                                          portion you own?
                                                                                                                                                          Do not deduct secured
                                                                                                                                                          claims or exemptions.

28. Tax   refunds owed to you
   liZI   No
   D      Yes. Give specific information
                                                                                                                                Federal:              $ _ _ _ _ __
               about them, including whether
               you already filed the returns                                                                                    State:                $ _ _ _ _ __
               and the tax years ....................... .                                                                                            $ _ _ _ _ __
                                                                                                                                Local:



29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   liZI   No
   D      Yes. Give specific information ............ ..
                                                                                                                               Alimony:                   $ _ _ _ _ _ __

                                                                                                                               Maintenance:               $ _ _ _ _ _ __
                                                                                                                               Support:                   $ _ _ _ _ _ __

                                                                                                                               Divorce settlement:        $ _ _ _ _ _ __
                                                                                                                               Property settlement:       $ _ _ _ _ _ __

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
                     Social Security benefits; unpaid loans you made to someone else
   liZI   No
   D      Yes. Give specific information ............. ..
                                                                                                                                                          $._ _ _ _ _ _ _ __



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               Desc Main                       Filed 11/06/19 Entered 11/06/19 11:34:24                                  Doc 1           Case 3:19-bk-33451
 Debtor 1       Troy Dorrell Myers                                                                       Case number (ifknownJ, _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                 First Name        Middle Name            Last Name




31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
    ~ No
    D   Yes. Name the insurance company             Company name:                                           Beneficiary:                             Surrender or refund value:
             of each policy and list its value ....
                                                                                                                                                     $ _ _ _ _ __

                                                                                                                                                     $ _ _ _ _ __

                                                                                                                                                     $ _ _ _ _ __

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
    property because someone has died.
    ~ No
    D   Yes. Give specific information ............. .
                                                                                                                                                     $_ _ _ _ _ __


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
    ~ No
    D   Yes. Describe each claim .................... .
                                                                                                                                                     $_ _ _ _ _ __

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
    to set off claims
    ~ No
    D   Yes. Describe each claim .................... .
                                                                                                                                                     $_ _ _ _ _ _ _




35. Any financial assets you did not already list

    ~ No
    D   Yes. Give specific information ........... .                                                                                                 $_ _ _ _ __




36. ::,dp~h;:."!~;;:,: :::: ~~~~ ent'.i<!S ' °.~ P~rt 4.· ln~l~~in9. any entri"" ~or ""~es ~o~ ~ave~tt,,chE!d                             ~        I $                   0. 00




              Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    ~ No. Go to Part 6.
    D   Yes. Go to line 38.

                                                                                                                                                   Current value of the
                                                                                                                                                   portion you own?
                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                   or exemptions.

38.Accounts receivable or commissions you already earned
    D   No
    D   Yes. Describe ...... .
                                                                                                                                                   $ _ _ _ _ _ __

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
    D   No
    D   Yes. Describe ...... .                                                                                                                     $ _ _ _ _ _ __




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             Desc Main                Filed 11/06/19 Entered 11/06/19 11:34:24                                    Doc 1          Case 3:19-bk-33451
 Debtor 1        Troy_porrell _f\/lyers                                                         Case number (if known), _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                    First Name            Middle Name      Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   D   No
   D   Yes. Describe ...... .                                                                                                      $ _ _ _ _ _ __



41. Inventory
   D   No
   D   Yes. Describe ...... .                                                                                                      $ _ _ _ _ _ __



42. Interests in partnerships or joint ventures

   D   No
   D   Yes. Describe.......              Name of entity:                                                       % of ownership:
                                                                                                               _ _ _%              $_ _ _ _ _ _ _ __
                                                                                                               _ _ _%              $,_ _ _ _ _ _ _ __
                                                                                                               _ _ _%              $._ _ _ _ _ _ _ __


43. Customer lists, mailing lists, or other compilations
   D   No
   D   Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
               D      No
               D     Yes. Describe ....... .
                                                                                                                                    $ _ _ _ _ _ __



44. Any business-related property you did not already list
   D   No
   D   Yes. Give specific                                                                                                           $ _ _ _ _ _ __
       information ........ .
                                                                                                                                    $ _ _ _ _ _ __

                                                                                                                                    $ _ _ _ _ _ __

                                                                                                                                    $ _ _ _ _ _ __

                                                                                                                                    $ _ _ _ _ _ __

                                                                                                                                    $ _ _ _ _ _ __



45. ::d:..h::.o;~;;~~i: :::: ~:: ..,,tries '-'~~ ~~~ ~· in~lu~in~ ""~ ~~~ies '-0'. l"'!les h:e ~~~<!d . ~
                                                                                                 yo~                              I $ _ _ _ _ _ _ _ __




                Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest In any farm- or commercial fishing-related property?
   Iii No. Go to Part 7.
   D   Yes. Go to line 47.

                                                                                                                                   Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured claims
                                                                                                                                   or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   D   No
   D   Yes ......................... ,

                                                                                                                                     $ _ _ _ _ __




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            Desc Main                        Filed 11/06/19 Entered 11/06/19 11:34:24                  Doc 1        Case 3:19-bk-33451
 Debtor 1            Troy Dorrell Myers                                                                                                              Case number (ffknown) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                       First Name             Middle Name                   Last Name




48. Crops-either growing or harvested
      D     No
      D     Yes. Give specific
            information ............ .                                                                                                                                                                            $ _ _ _ _ __


49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
      D     No
      D    Yes ......................... .
                                                                                                                                                                                                                  $ _ _ _ _ __


50.   Farm and fishing supplies, chemicals, and feed
      D    No
      D    Yes ......................... .
                                                                                                                                                                                                                  $ _ _ _ _ __


51. Any     farm- and commercial fishing-related property you did not already list
      D    No
      D    Yes. Give specific
           information ............ .                                                                                                                                                                             $ _ _ _ _ __


52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                  $ _ _ _ _ __
      for Part 6. Write that number here .................................................................................................................................................... -+




                    Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
      Examples: Season tickets, country club membership

      ~ No                                                                                                                                                                                                            $ _ _ _ __
      D    Yes. Give specific
           information ............ .                                                                                                                                                                                 $ _ _ _ __

                                                                                                                                                                                                                      $ _ _ _ __



54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................. -+                                                      I       $ _ _ _ _ _ __




•§fI                List the Totals of Each Part of this Form

55. Part     1: Total real estate, line 2 .............................................................................................................................................................. -+       $            0.00

56.   Part 2: Total vehicles, line 5                                                                                 $                       0.00

57. Part 3: Total personal and household items, line 15                                                              $              2,635.00

58. Part 4: Total financial assets, line 36                                                                          $                       0.00

59. Part 5: Total business-related property, line 45                                                                 $                       0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                        $                       0.00

61. Part 7: Total other property not listed, line 54                                                             +$                          0.00

62. Total personal property. Add lines 56 through 61 .................... .                                          $              2,715.00            Copy personal property total-+ +$ _ _ _2,715.00
                                                                                                                                                                                               _ _ __



63. Total of all property on Schedule A/8. Add line 55 + line 62 ..........................................................................................                                                       $        2,715.00



 Official Form 106A/B                           Document      Page 18 of 68                 Schedule A/8: Property                                                                                                          page 10
                 Desc Main                       Filed 11/06/19 Entered 11/06/19 11:34:24                                                                         Doc 1                Case 3:19-bk-33451
            Fill in this information to identify your case:


             Debtor 1           Troy Dorrell Myers
                                 First Name             Middle Name               Last Name

             Debtor 2
             (Spouse, if filing) First Name             Middle Name               Last Name


             United States Bankruptcy Court for the: Southern District of Ohio

             Case number                                                                                                                                0   Check if this is an
             (If known)
                                                                                                                                                            amended filing


           Official Form 106C
           Schedule C: The Property You Claim as Exempt                                                                                                               04/19

           Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
           Using the property you listed on Schedule AIB: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
           space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
           your name and case number (if known).

           For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
           specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
           of any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt
           retirement funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
           limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
           would be limited to the applicable statutory amount.


           •§fl             Identify the Property You Clalm as Exempt


            1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
                 !if You are claiming state and federal nonbankruptcy exemptions.             11 U.S.C. § 522(b)(3)
                 0    You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)



            2. For any property you list on Schedule AIB that you claim as exempt, fill in the information below.


                  Brief description of the property and line on       Current value of the        Amount of the exemption you claim         Specific laws that allow exemption
                  Schedule AIB that lists this property               portion you own
                                                                      Copy the value from         Check only one box for each exemption.
                                                                      Schedule AIB

                 Brief                                                                                                                      O.R.C. §2329.66(a)(3)
                 description:             LG Washer                   $200.00                      0$
                  Line from                                                                        0   100% of fair market value, up to
                  Schedule A/8:           6                                                            any applicable statutory limit


                 Brief
                 description:             LG Pryer                    $ 200.00                     0$                                       O.R.C. §2329.66(a)(3)
                 Line from     .£L_
                                                                                                   0   100% of fair market value, up to
                 Schedule AIB:                                                                         any applicable statutory limit

                 Brief
                 description:             Faux Leather Furnitu        $ 400.00                     0$                                       O.R.C. §2329.66(a)(3)
                 Line from                                                                         0   100% of fair market value, up to
                 Schedule AIB: .£L_                                                                    any applicable statutory limit


            3. Are you claiming a homestead exemption of more than $170,350?
                 (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

                 lif No
',;...,.
                 0    Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                      0       No
                      0      Yes



           qfficial Form 106C                  Document               Schedule C: The Property You Claim as Exempt
                                                             Page 19 of 68                                                                                      page 1 of_
                       Desc Main                Filed 11/06/19 Entered 11/06/19 11:34:24                                  Doc 1           Case 3:19-bk-33451
Debtor 1        Troy Dorrell Myers                                                              Case number (ifi<nown), _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
               First Name        Middle Name     Last Name




-             Addltlonal Page

       Brief description of the property and line        Current value of the   Amount of the exemption you claim          Specific laws that allow exemption
       on Schedule A/8 that lists this property          portion you own

                                                         Copy the value from    Check only one box for each exemption
                                                         Schedule A/8

      Brief
                            Wood Dining Set              $ _ _ _150.00
                                                                 __                                                       O.R.C. §2329.66(a)(3)
      description:                                                              0$
      Line from             6                                                   0   100% of fair market value, up to
      Schedule AIB:                                                                 any applicable statutory limit

      Brief                                                                                                               O.R.C. §2329.66(a)(3)
      description:          Wood Bedroom set             $         1. 000.00
                                                                      --        0$
      Line from                                                                 0 100% of fair market value, up to
      Schedule AIB:
                            6                                                       any applicable statutory limit


      Brief                                                                                                               O.R.C. §2329.66(a)(3)
                            42' LG Television            $ _ _ _ 100.00
                                                                 _ __           0$
      description:
      Line from                                                                 0   100% of fair market value, up to
                            7                                                       any applicable statutory limit
      Schedule AIB:

      Brief                                                                                                               O.R.C. §2329.66(a)(3)
      description:          -32' LG Television                  75.00
                                                         $_ _ _ _ _             0$
      Line from             7                                                   0   100% of fair market value, up to
      Schedule A/8:                                                                 any applicable statutory limit

      Brief                                                                                                              O.R.C. §2329.66(a)(3)
                            Apple iphone 6                      50.00
                                                         $_ _ _ _ _             0$
      description:
      Line from                                                                 0   100% of fair market value, up to
      Schedule AIB:
                            7                                                       any applicable statutory limit


      Brief                                                                                                              O.R.C. §2329.66(a)(3)
                            clothing                     $ _ _ _300.00
                                                                 __
                                                                                0$
      description:
      Line from             11
                                                                                0   100% of fair market value, up to
      Schedule AIB:                                                                 any applicable statutory limit

      Brief                                                                                                              O.R.C. §2329.66(a)(3)
                            Gold necklace                       25.00
                                                         $_ _ _ _ _
                                                                                0$
      description:
      Line from     12                                                          0 100% of fair market value, up to
      Schedule A/8: - - -                                                           any applicable statutory limit

      Brief
      description:          ----------                   $ _ _ _ _ _ __         0$
      Line from                                                                 0 100% of fair market value, up to
      Schedule AIB:                                                                 any applicable statutory limit


      Brief
      description:
                                                         $ _ _ _ _ __           C:h _ _ __
      Line from                                                                 0 100% of fair market value,    up to
      Schedule A/B:                                                                 any applicable statutory limit

      Brief
      description:
                                                         $_ _ _ _ _             0$ _ _ __
      Line from                                                                 0   100% of fair market value, up to
      Schedule AIB:                                                                 any applicable statutory limit

     Brief
     description:
                                                         $_ _ _ _ _             0$ _ _ __
      Line from                                                                 0   100% of fair market value, up to
      Schedule A/8:                                                                 any applicable statutory limit


     Brief
     description:
                                                         $ _ _ _ __             0$ _ _ __
      Line from                                                                 0   100% of fair market value, up to
      Schedule A/B:                                                                 any applicable statutory limit



OffiJ:;ial Form 106C              Document             Schedule C: The Property You Claim as Exempt
                                                Page 20 of 68                                                                              page£._of _
           Desc Main               Filed 11/06/19 Entered 11/06/19 11:34:24                             Doc 1           Case 3:19-bk-33451
   Fill in this information to identify your case:


   Debtor 1            Troy Dorrell Myers
                        First Name                    Middle Name                         Last Name

   Debtor2
   (Spouse, if filing) First Name                     Middle Name                         Last Name


   United States Bankruptcy Court for the: Southern District of Ohio

   Case number
   (If known)                                                                                                                                                Cl Check if this is an
                                                                                                                                                                amended filing


   Official Form 106D
   Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                    12/15
   Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
   information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
   additional pages, write your name and case number (if known).

  1. Do any creditors have claims secured by your property?
     Gl No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
        0       Yes. Fill in all of the information below.


• ¥181              List All Secured Claims
                                                                                                                              Column A               ColumnB                   Column C
  2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                     Amount of claim        Value of collateral       Unsecured
     for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                    Do not deduct the      that supports this        portion
     As much as possible, list the claims in alphabetical order according to the creditor's name.                             value of collateral.   claim                     If any

[TI                                                            Describe the property that secures the claim:                  $                         $                  $
         Creditor's Name                                      · · ···   · · · ·····   ··· · · · ·· ·


         Number            Street

                                                               As of the date you file, the claim Is: Check all that apply.
                                                               0    Contingent
                                                               0    Unliquidated
         City                          State   ZIP Code
                                                               0    Disputed
    Who owes the debt? Check one.                              Nature of lien. Check all that apply.
    0       Debtor 1 only                                      0    An agreement you made (such as mortgage or secured
    0       Debtor 2 only                                           car loan)
    0       Debtor 1 and Debtor 2 only                         0    Statutory lien (such as tax lien, mechanic's lien)
    0       At least one of the debtors and another            0    Judgment lien from a lawsuit
                                                               0    Other (including a right to offset) _ _ _ _ _ _ __
    0       Check If this claim relates to a
            community debt
    Date debt was Incurred _ _ _ __                            Last 4 digits of account number _ _ _ _
I 2.21                                                         Describe the property that secures the claim:                  $_ _ _ _ __               $_ _ _ _ _ $_ _ __

         Creditor's Name


         Number            Street

                                                               As of the date you file, the claim is: Check all that apply.
                                                               0    Contingent
                                                               0    Unliquidated
         City                          State   ZIP Code
                                                               0    Disputed
    Who owes the debt? Check one.                              Nature of lien. Check all that apply.
    0       Debtor 1 only                                      0    An agreement you made (such as mortgage or secured
    0       Debtor 2 only                                           car loan)
    0       Debtor 1 and Debtor 2 only                         0    Statutory lien (such as tax lien, mechanic's lien)
    0       At least one of the debtors and another            0    Judgment lien from a lawsuit
                                                               0    Other (including a right to offset) _ _ _ _ _ _ __
    0  Check if this claim relates to a
       community debt
    Date debt was Incurred _ _ _ __                            Last 4 digits of account number _ _ _ . -
         Add the dollar value of your entries in Column A on this page. Write that number here:
                                                                                                                              E                  :_ I
  Official Form 106D                     Document     Schedule D: Creditors Who Have Claims Secured by Property
                                                       Page 21 of 68                                                                                              page 1 of_
                   Desc Main              Filed 11/06/19 Entered 11/06/19 11:34:24                                            Doc 1         Case 3:19-bk-33451
Debtor1          Troy Dorrell Myers                                                                           Case number (if known)-_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                  First Name     Middle Name         Last Name



                                                                                                                       Column A               ColumnB                   Column C
               Addltlonal Page
                                                                                                                       Amount of clalm        Value of collateral       Unsecured
               After listing any entries on this page, number them beginning with 2.3, followed                                               that supports this        portion
                                                                                                                       Do not deduct the
               by 2.4, and so forth.                                                                                   value of collateral.   claim                     If any

                                                     Describe the property that secures the claim:                    $                           $                 $
     Creditor's Name


     Number            Street


                                                     As of the date you file, the claim Is: Check all that apply.
                                                     D    Contingent
     City                        State    ZIP Code   D    Unliquidated
                                                     D   Disputed

 Who owes the debt? Check one.                       Nature of lien. Check all that apply.
 D     Debtor 1 only                                 D   An agreement you made (such as mortgage or secured
 D     Debtor 2 only                                     car loan)
 D     Debtor 1 and Debtor 2 only                    D   Statutory lien (such as tax lien, mechanic's lien)
 D     At least one of the debtors and another       D   Judgment lien from a lawsuit
                                                     D   Other (including a right to offset) _ _ _ _ _ _ __
 D     Check If this claim relates to a
       community debt

 Date debt was Incurred _ _ _ __                     Last 4 digits of account number _           __ _


D- - - - -
   Creditor's Name
                                                     Describe the property that secures the claim:                    $_ _ _ __                   $_ _ _ _ _ $_ _ __



   Number              Street

                                                     As of the date you file, the claim Is: Check all that apply.
                                                     D   Contingent
                                                     D   Unliquidated
   City                          State    ZIP Code
                                                     D   Disputed
 Who owes the debt? Check one.
                                                     Nature of lien. Check all that apply.
 D     Debtor 1 only
                                                     D   An agreement you made (such as mortgage or secured
 D     Debtor 2 only                                     car loan)
 D     Debtor 1 and Debtor 2 only                    D   Statutory lien (such as tax lien, mechanic's lien)
 D     At least one of the debtors and another       D   Judgment lien from a lawsuit
                                                     D   Other (including a right to offset) _ _ _ _ _ _ __
 D     Check If this claim relates to a
       community debt

 Date debt was Incurred _ _ _ __                     Last 4 digits of account number _           __ _


D- - - - -
     Creditor's Name
                                                     Describe the property that secures the claim:                    $_ _ _ _ __                 $._ _ _ _ _ $._ _ __



     Number            Street


                                                     As of the date you file, the claim Is: Check all that apply.
                                                     D   Contingent
   City                          State    ZIP Code   D   Unliquidated
                                                     D   Disputed
 Who owes the debt? Check one.                       Nature of lien. Check all that apply.
 D     Debtor 1 only                                 D   An agreement you made (such as mortgage or secured
 D     Debtor 2 only                                     car loan)
 D     Debtor 1 and Debtor 2 only                    D   Statutory lien (such as tax lien, mechanic's lien)
 D     At least one of the debtors and another       D   Judgment lien from a lawsuit
                                                     D   Other (including a right to offset) _ _ _ _ _ _ __
 D     Check if this claim relates to a
       community debt



                                                                                                                     t ...
 Date debt was Incurred _ _ _ _ _                    Last 4 digits of account number _           __ _

            Add the dollar value of your entries In Column A on this page. Write that number here:                                            I
            If this is the last page of your form, add the dollar value totals from all pages.
            Write that number here:

Official Form 106D
              Desc Main
                                *   Document      Page 22 of 68
                                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property
                                     Filed 11/06/19 Entered 11/06/19 11:34:24                                        Doc 1          Case 3:19-bk-33451
                                                                                                                                                           page_of_
 Oebtor1        Troy_porrell M_yers                                                                         Case number (If known) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                First Name     Middle Name        Last Name


 H¥fifM          List Others to Be Notified for a Debt That You Already Listed

   Use this page only If you have others to be notified about your bankruptcy for a debt that you already llsted In Part 1. For example, if a collection
   agency is trying to collect from you for a debt you owe to someone else, list the creditor In Part 1, and then 11st the collection agency here. Similarly, if
   you have more than one creditor for any of the debts that you listed In Part 1, list the additional creditors here. If you do not have additional persons to
   be notified for any debts In Part 1, do not ftll out or submit this page.


 D     Name
                                                                                            On which line in Part 1 did you enter the creditor? _ _

                                                                                            Last 4 digits of account number _ _ _ _


       Number        Street




       City                                          State          ZIP Code


 D     Name
                                                                                            On which line In Part 1 did you enter the creditor? _ _

                                                                                            Last 4 digits of account number _ _ _ _


       Number        Street




       City                                          State          ZIP Code


 D     Name
                                                                                            On which line In Part 1 did you enter the creditor? _ _

                                                                                            Last 4 digits of account number _ _ _ _


       Number        Street




       City                                          State          ZIP Code


 D     Name
                                                                                            On which line in Part 1 did you enter the creditor? _ _

                                                                                            Last 4 digits of account number _ _ _ _


       Number        Street




       City                                          State          ZIP Cocle


 D     Name
                                                                                            On which line In Part 1 did you enter the creditor? _ _

                                                                                            Last 4 digits of account number _ _ _ _


       Number        Street




       City                                          State          ZIP Code


 D     Name
                                                                                            On which line In Part 1 did you enter the creditor? _ _

                                                                                            Last 4 digits of account number _ _ _ _


       Number        Street



                                                                                            ,   • ,,,,,_,,.. .. ,~, >-.1','"-i~,•, ,_,,,,_,.;   ·,·,':<,,r-1'.-:,..,":,,;-...,.-~~;....,,.J~A.;-_         :~•'-ll-~~-~.:,~,H,·,:..:.:::__.:...._,--;   I ..




       City                                          State          ZIP Code



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                               t
                                 Document        ....Wb=
                                               Page 23 of 68                                    . ·. . '. . .
                                   . ,, ~ art 2 of Schedule D: Creditors Who Have Claims Secured by -Property                                                                                       page_of_
                                                                                                                                                                                                                                                       1
              Desc Main           Filed 11/06/19 Entered 11/06/19 11:34:24                                                            Doc 1                                          Case 3:19-bk-33451
       Fill in this information to identify your case:


       Debtor 1           Troy Dorrell Myers
                           First Name                   Middle Name              Last Name

       Debtor 2
       (Spouse, if filing) First Name                   Middle Name              Last Name


       United States Bankruptcy Court for the: Southern District of Ohio

       Case number
                                                                                                                                                              D Check if this is an
       (If known)                                                                                                                                                 amended filing


  Official Form 106E/F
  Schedule E/F: Creditors Who Have Unsecured Claims
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
                                                                                                                                                                              -
                                                                                                                                                                              12J1.5~.,,-


 AIB: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

                        List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
         !;a No. Go to Part 2.
         Dves.
  2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
         each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
         nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
         unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                           Total claim       Priority       Non priority
                                                                                                                                                             amount         amount

El         Priority Creditor's Name
                                                                        Last 4 digits of account number _ _ _ _                        $                 $              $

                                                                        When was the debt incurred?
           Number            Street

                                                                        As of the date you file, the claim is: Check all that apply.

            City                                State   ZIP Code
                                                                        D   Contingent
                                                                        D   Unliquidated
            Who incurred the debt? Check one.
                                                                        D   Disputed
            D      Debtor 1 only
            D      Debtor 2 only                                        Type of PRIORITY unsecured claim:
            D      Debtor 1 and Debtor 2 only
                                                                        D   Domestic support obligations
            D      At least one of the debtors and another
                                                                        D   Taxes and certain other debts you owe the government
            D      Check if this claim is for a community debt
                                                                        D   Claims for death or personal injury while you were
            Is the claim subject to offset?                                 intoxicated

            D      No                                                   D   Other. Specify
            D      Yes
12.2    I __________                                                    Last 4 digits of account number _ _ _ _                        $                 $              $
           Priority Creditor's Name
                                                                        When was the debt Incurred?
           Number            Street
                                                                        As of the date you file, the claim Is: Check all that apply.
                                                                        D   Contingent
           City                                 State   ZIP Code        D   Unliquidated

           Who incurred the debt? Check one.                            D   Disputed
            D      Debtor 1 only
                                                                        Type of PRIORITY unsecured claim:
            D      Debtor 2 only
                                                                        D   Domestic support obligations
            D      Debtor 1 and Debtor 2 only
            D      At least one of the debtors and another
                                                                        D   Taxes and certain other debts you owe the government

            D      Check If this claim Is for a community debt
                                                                        D   Claims for death or personal injury while you were
                                                                            intoxicated
           Is the claim subject to offset?                              D   Other. Specify _ _ _ _ _ _ _ _ _ _ _ __
            D      No
            D      Yes


 Official Form 106E/F
                                          Document      Page 24 of 68
                                                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of_
                   Desc Main               Filed 11/06/19 Entered 11/06/19 11:34:24                                      Doc 1              Case 3:19-bk-33451
 Debtor 1          Troy Dorrell Myers                                                                      Case number cnnown),_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name      Middle Name         Last Name


                   Your PRIORITY Unsecured Clalms - Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                           Total clalm   Priority   Non priority
                                                                                                                                                amount     amount

D                                                                  Last 4 digits of account number _ _ _ _
                                                                                                                                  $_ _ _ _ $,_ __          $_ _ __
      Priority Creditor's Name

                                                                   When was the debt Incurred?
      Number            Street

                                                                   As of the date you file, the claim Is: Check all that apply.

                                                                   D   Contingent
      City                                State   ZIP Code         D   Unliquidated
                                                                   D   Disputed
      Who incurred the debt? Check one.
      D      Debtor 1 only                                         Type of PRIORITY unsecured claim:
      0      Debtor 2 only
                                                                   0   Domestic support obligations
      0      Debtor 1 and Debtor 2 only
                                                                   0   Taxes and certain other debts you owe the government
      0      At least one of the debtors and another
                                                                   0   Claims for death or personal injury while you were
                                                                       intoxicated
      0      Check if this claim is for a community debt
                                                                   D   Other. Specify _ _ _ _ _ _ _ _ _ _ _ _ _ __

      Is the clalm subject to offset?
      D      No
      D      Yes


D                                                                  Last 4 digits of account number _ _ _ _
                                                                                                                                  $_ _ _ _ $_ __           $_ _ __
      Priority Creditor's Name

                                                                   When was the debt incurred?
      Number            Street

                                                                   As of the date you file, the claim is: Check all that apply.

                                                                   0   Contingent
      City                                State   ZIP Code         0   Unliquidated
                                                                   0   Disputed
      Who incurred the debt? Check one.
      0      Debtor 1 only                                         Type of PRIORITY unsecured claim:
      0      Debtor 2 only
                                                                   D   Domestic support obligations
      0      Debtor 1 and Debtor 2 only
                                                                   0   Taxes and certain other debts you owe the government
      0      At least one of the debtors and another
                                                                   D   Claims for death or personal injury while you were
                                                                       intoxicated
      D      Check if this claim Is for a community debt
                                                                   D   Other. Specify _ _ _ _ _ _ _ _ _ _ _ __

      Is the claim subject to offset?
      0      No
      0      Yes

D                                                                  Last 4 digits of account number _ _ _ _
                                                                                                                                  $,_ _ _ _ $,_ __         $_ _ __
      Priority Creditor's Name

                                                                   When was the debt incurred?
      Number            Street

                                                                   As of the date you file, the claim is: Check all that apply.

                                                                   D   Contingent
      City                                State   ZIP Code         0   Unliquidated
                                                                   D   Disputed
      Who incurred the debt? Check one.
      0      Debtor 1 only                                         Type of PRIORITY unsecured claim:
      0      Debtor 2 only
                                                                   D   Domestic support obligations
      0      Debtor 1 and Debtor 2 only
                                                                   D   Taxes and certain other debts you owe the government
      0      At least one of the debtors and another
                                                                   0   Claims for death or personal injury while you were
      0      Check if this claim is for a community debt               intoxicated
                                                                   0   Other. Specify _ _ _ _ _ _ _ _ _ _ _ __

      Is the clal m su bJect to offset?
      0      No
      D Yes

Official Form 106E/F                 Document      Page 25 of 68
                                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 page_of_
             Desc Main                Filed 11/06/19 Entered 11/06/19 11:34:24                                     Doc 1          Case 3:19-bk-33451
 Debtor 1          Troy_DorrE3U Myers                                                                 Case number (ff known),_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name       Middle Name           Last Name



                  List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
     D No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     I-aves
 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                           Total claim

~     Advance America                                                             Last 4 digits of account number _          __ _                         $_ _ _ _ __
      Nonpriority Creditor's Name
                                                                                 When was the debt Incurred?
      5143 Salem Ave.
      Number            Street

      Dalton                                           OH              45426
      City                                             State          ZIP Code   As of the date you file, the claim is: Check all that apply.

                                                                                  D   Contingent
      Who incurred the debt? Check one.                                           D   Unliquidated
      ijl    Debtor 1 only                                                        D   Disputed
      D      Debtor 2 only
      D      Debtor 1 and Debtor 2 only                                          Type of NONPRIORITY unsecured claim:
      D      At least one of the debtors and another                              D   Student loans

      D      Check If this claim Is for a community debt                          D   Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
      Is the clal m subject to offset?                                            D   Debts to pension or profit-sharing plans, and other similar debts
      ij1    No                                                                   D   Other. Specify _ _ _ _ _ _ _ _ _ _ _ _ _ __
      D      Yes


E] Advance America                                                               Last 4 digits of account number _           _     _    _                 $_ _ _ _ _ __
      Nonpriority Creditor's Name                                                When was the debt Incurred?
      3003 5oth Street Suite 500
      Number            Street

      Lubbock                                          TX              79413     As of the date you file, the claim Is: Check all that apply.
      City                                             State          ZIP Code
                                                                                 D    Contingent
      Who incurred the debt? Check one.                                          D    Unliquidated

      ijl    Debtor 1 only                                                       D    Disputed

      D      Debtor 2 only
                                                                                 Type of NONPRIORITY unsecured claim:
      D      Debtor 1 and Debtor 2 only
      D      At least one of the debtors and another                             D    Student loans
                                                                                 D    Obligations arising out of a separation agreement or divorce
      D      Check if this claim is for a community debt                              that you did not report as priority claims
      Is the claim subject to offset?                                            D    Debts to pension or profit-sharing plans, and other similar debts
      ijl    No
                                                                                 D    Other. Specify _ _ _ _ _ _ _ _ _ _ _ _ _ __

      D      Yes

EJ     Cash Advance Centers of Ohio
      Nonpriority Creditor's Name
                                                                                 Last 4 digits of account number _ _ _ _                                  $_ _ _ _ __
                                                                                 When was the debt lncu rred?
       3317 N. Dixie Dr
      Number            Street
       Dayton                                           OH             45414
                                                                                 As of the date you file, the claim Is: Check all that apply.
      City                                             State          ZIP Code

      Who incurred the debt? Check one.
                                                                                 D    Contingent
                                                                                 D    Unliquidated
      l;j° Debtor 1 only
                                                                                 D    Disputed
      D Debtor 2 only
      D      Debtor 1 and Debtor 2 only
                                                                                 Type of NONPRIORITY unsecured claim:
      D      At least one of the debtors and another
                                                                                 D    Student loans
      D      Check If this claim Is for a community debt                         D    Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 D    Debts to pension or profit-sharing plans, and other similar debts
      l;j° No                                                                    D    Other. Specify _ _ _ _ _ _ _ _ _ _ _ _ _ __
      D Yes


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 Debtor 1          Troy Dorrell Myers                                                                    Case number (if known),_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name       Middle Name           Last Name



                Your NONPRIORITY Unsecured Clalms - Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                       Total claim



B      Cashland
      Nonpriority Creditor's Name
                                                                                    Last 4 digits of account number _ _ _ _                                   $_ _ __

                                                                                    When was the debt Incurred?
       5150 Salem Ave
      Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Dayton                                           OH             45426
      City                                             State          ZIP Code      0     Contingent
                                                                                    0     Unliquidated
      Who Incurred the debt? Check one.
                                                                                    0     Disputed
      ~ Debtor 1 only
      0 Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
      0 Debtor 1 and Debtor 2 only
                                                                                    if'   Student loans
      0      At least one of the debtors and another
                                                                                    0     Obligations arising out of a separation agreement or divorce that
                                                                                          you did not report as priority claims
      0      Check If this claim Is for a community debt
                                                                                    0     Debts to pension or profit-sharing plans, and other similar debts
      Is the clal m subject to offset?                                              D     Other. Specify_ _ _ _ _ _ _ _ _ _ __

      ~No
      0      Yes




~      Cashland                                                                     Last 4 digits of account number _ _ _ _                                   $_ _ __

      Nonpriority Creditor's Name
                                                                                    When was the debt lncu rred?
       100 E. 3rd Street
      Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Dayton                                           OH             45402
      City                                             State          ZIP Code      0     Contingent
                                                                                    D     Unliquidated
      Who Incurred the debt? Check one.
                                                                                    0     Disputed
      t;i" Debtor 1 only
      0 Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
      0 Debtor 1 and Debtor 2 only                                                  0     Student loans
      0 At least one of the debtors and another                                     0     Obligations arising out of a separation agreement or divorce that
                                                                                          you did not report as priority claims
      0      Check If this claim Is for a community debt
                                                                                    0     Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               D     Other. Specify_ _ _ _ _ _ _ _ _ _ _ __
      l;i No
      0 Yes

~                                                                                   Last 4 digits of account number _ _ _ _
                                                                                                                                                              $_ _ __
       CashMax Ohio
      Nonpriority Creditor's Name
                                                                                   When was the debt incurred?
      5449 Salem Ave Ste 400A
      Number            Street
                                                                                   As of the date you file, the claim Is: Check all that apply.
       Dayton                                          OH              45426
      City                                             State          ZIP Code      0     Contingent
                                                                                    0     Unliquidated
      Who incurred the debt? Check one.
                                                                                    0     Disputed
      ~ Debtor 1 only
      0      Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
      0      Debtor 1 and Debtor 2 only
                                                                                    0     Student loans
      D      At least one of the debtors and another
                                                                                    0     Obligations arising out of a separation agreement or divorce that
                                                                                          you did not report as priority claims
      0      Check if this claim is for a community debt
                                                                                    0     Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               0     Other. Specify_ _ _ _ _ _ _ _ _ _ _ __
      l;i No
      0      Yes




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 Debtor 1          Troy Dorrell Myers                                                                     Case number (ff known) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name       Middle Name           Last Name



                Your NONPRIORITY Unsecured Claims - Continuation Page


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~      CashMax Ohio                                                                Last 4 digits of account number _ _ _ _                                     $_ _ __
      Nonpriority Creditor's Name
                                                                                   When was the debt Incurred?
       4791 Salem Ave
      Number            Street
                                                                                   As of the date you flle, the clalm Is: Check all that apply.
       Dayton                                          OH              45416
      City                                             State          ZIP Code      D      Contingent
                                                                                    D      Unliquidated
      Who incurred the debt? Check one.                                             D      Disputed
      i;I' Debtor 1 only
      D Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
      D Debtor 1 and Debtor 2 only                                                  !if'   Student loans
      D At least one of the debtors and another                                     D      Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
      D      Check if this claim Is for a community debt
                                                                                    D      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               D      Other. Specify_ _ _ _ _ _ _ _ _ _ _ __

      Ga No
      D      Yes



~      CashMax Oho Coreorate                                                        Last 4 digits of account number _ _ _ _                                    $_ _ __

      Nonpriority Creditor's Name
                                                                                   When was the debt Incurred?
       1198 S. Arlington St.
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Akron                                           OH              44306
      City                                             State          ZIP Code      D      Contingent
                                                                                    D      Unliquidated
      Who incurred the debt? Check one.                                             D      Disputed
      l;i' Debtor 1 only
      D      Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
      D      Debtor 1 and Debtor 2 only
                                                                                    D      Student loans
      D      At least one of the debtors and another
                                                                                    D      Obligations arising out of a separation agreement or divorce that           .,._,_,e;~._,..-:::r;·-· ... - ....._ ...,

                                                                                           you did not report as priority claims
      D      Check if this claim is for a community debt
                                                                                    D      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               D      Other. Specify_ _ _ _ _ _ _ _ _ _ _ __
       lvf No
      D      Yes


~                                                                                  Last 4 digits of account number _ _ _ _
                                                                                                                                                               $   1,859:00 · · .,~,~~
       Check N Go
      Nonpriority Creditor's Name
                                                                                   When was the debt Incurred?              07/01/2017
       4141 N. Main St
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Dayton                                          OH              45405
      City                                             State          ZIP Code      D      Contingent
                                                                                    D      Unliquidated
      Who incurred the debt? Check one.                                             D      Disputed
      !;a' Debtor 1 only
      D Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
      D Debtor 1 and Debtor 2 only                                                  D      Student loans
      D At least one of the debtors and another                                     D      Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
      D      Check If this claim is for a community debt
                                                                                    D      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               D      Other. Specify_ _ _ _ _ _ _ _ _ _ _ __
      lvf No
      D      Yes




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 Debtor 1          Troy Dorrell Myers                                                                     Case number (If known),_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name       Middle Name           Last Name



                Your NONPRIORITY Unsecured Claims - Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                        Total claim



~      Check Smart                                                                  Last 4 digits of account number _ _ _ _                                    $_ _ __
      Nonpriority Creditor's Name
                                                                                    When was the debt Incurred?
       5521 Salem Ave
      Number            Street
                                                                                    As of the date you file, the claim Is: Check all that apply.
       Dayton                                           OH             45426
      City                                             State          ZIP Code      CJ     Contingent
                                                                                    CJ     Unliquidated
      Who Incurred the debt? Check one.                                             CJ     Disputed
      i:;l' Debtor 1 only
      CJ Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
      CJ Debtor 1 and Debtor 2 only                                                 lif'   Student loans
      CJ At least one of the debtors and another                                    CJ     Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
      CJ     Check if this claim is for a community debt
                                                                                    D      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               CJ     Other. Specify_ _ _ _ _ _ _ _ _ _ _ __
      ~No
      CJ     Yes



0     Check Smart                                                                   Last 4 digits of account number _ _ _ _                                    $._ _ __

      Nonpriority Creditor's Name
                                                                                    When was the debt Incurred?
      6785 Bobcat Way
      Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Dublin                                           OH             43016
      City                                             State          ZIP Code      CJ     Contingent
                                                                                    CJ     Unliquidated
      Who Incurred the debt? Check one.
                                                                                    CJ     Disputed
      i;J' Debtor 1 only
      CJ Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
      CJ Debtor 1 and Debtor 2 only                                                 CJ     Student loans
      CJ At least one of the debtors and another                                    CJ     Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
      CJ     Check if this claim Is for a community debt
                                                                                    CJ     Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               CJ     Other. Specify_ _ _ _ _ _ _ _ _ _ _ __
      Iii No
      CJ     Yes


~                                                                                   Last 4 digits of account number ~ ~ ~ ~
                                                                                                                                                               $   1,566.00
       Ca~ital One Bank USA
      Nonpriority Creditor's Name
                                                                                   When was the debt incurred?               11/01/2018
      PO Boxc 30285
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Salt Lake City                                   UT              84130
      City                                             State          ZIP Code      CJ     Contingent
                                                                                    CJ     Unliquidated
      Who incurred the debt? Check one.
                                                                                    CJ     Disputed
      ~ Debtor 1 only
      CJDebtor 2 only                                                              Type of NONPRIORITY unsecured claim:
      CJDebtor 1 and Debtor 2 only
                                                                                    CJ     Student loans
      CJ     At least one of the debtors and another
                                                                                    CJ     Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
      CJ     Check if this claim is for a community debt
                                                                                    CJ     Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               CJ     Other. Specify_ _ _ _ _ _ _ _ _ _ _ __
      !ii No
      CJ     Yes




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 Debtor 1          Troy Dorrell Myers                                                                  Case number (if known):.._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name       Middle Name           Last Name



                Your NONPRIORITY Unsecured Claims - Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                      Total claim



~      Credit One Bank                                                              Last 4 digits of account number _ _ _ _
                                                                                                                                                             $    621.00
      Nonpriority Creditor's Name
                                                                                    When was the debt incurred?           07/01/2016
       PO Box 98872
      Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Las Vegas                                        NV             89193
      City                                             State          ZIP Code      D   Contingent
                                                                                    D   Unliquidated
      Who incurred the debt? Check one.                                             D   Disputed
      ~ Debtor 1 only
      D Debtor 2 only                                                               Tvoe of NONPRIORITY unsecured claim:
      D Debtor 1 and Debtor 2 only                                                      Student loans
      D At least one of the debtors and another                                     D   Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
      D      Check if this claim is for a community debt
                                                                                    D   Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               D   Other. Specify_ _ _ _ _ _ _ _ _ _ _ __
      ~No
      D      Yes



0      Credit One Bank                                                              Last 4 digits of account number _ _ _ _                                  $_ _ __

      Nonpriority Creditor's Name
                                                                                    When was the debt incurred?           07/01/2017
      320 East Big Beaver Suite 300
      Number            Street
                                                                                    As of the date you file, the claim Is: Check all that apply.
      Troy                                              Ml             48083
      City                                             State          ZIP Code      D   Contingent
                                                                                    D   Unliquidated
      Who Incurred the debt? Check one.
                                                                                    D   Disputed
      i;f" Debtor 1 only
      D      Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
      D      Debtor 1 and Debtor 2 only
                                                                                    D   Student loans
      D      At least one of the debtors and another
                                                                                    D   Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
       D     Check if this claim Is for a community debt
                                                                                    D   Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               D   Other. Specify_ _ _ _ _ _ _ _ _ _ _ __
      &a' No
      D      Yes


~                                                                                   Last 4 digits of account number       .L ...£. _1_ ~
                                                                                                                                                             $   4,700:00
       Da~ton Power & Light
      Nonpriority Creditor's Name
                                                                                   When was the debt incurred?
      PO Box 740598
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Cincinnati                                       OH              45274
      City                                             State          ZIP Code      D   Contingent
                                                                                    D   Unliquidated
      Who incurred the debt? Check one.
                                                                                    D   Disputed
      ~ Debtor 1 only
      D      Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
      D      Debtor 1 and Debtor 2 only
                                                                                    D   Student loans
      D      At least one of the debtors and another
                                                                                    D   Obligations- arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
      D      Check if this claim is for a community debt
                                                                                    D   Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               D   Other. Specify_ _ _ _ _ _ _ _ _ _ _ __
      iai No
      D      Yes




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 Debtor 1          Troy Dorrell Myers                                                                   Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name       Middle Name           Last Name



                Your NONPRIORITY Unsecured Claims - Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                       Total claim



~      Freedom First Credit Union                                                    Last 4 digits of account number _ _ _ _                                 $    6,515.04
      Nonpriorily Creditor's Name
                                                                                    When was the debt incurred?           11/01/2018
       1645 Webster St.
      Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Dayton                                           OH             45404
      City                                             State          ZIP   Code     D   Contingent
                                                                                     D   Unliquidated
      Who incurred the debt? Check one.                                              D   Disputed
      l;j' Debtor 1 only
      D Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
      D Debtor 1 and Debtor 2 only                                                   D   Student loans
      D At least one of the debtors and another                                      D   Obligations arising out of a separation agreement or divorce that
                                                                                         you did not report as priority claims
      D      Check If this claim is for a community debt
                                                                                     D   Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                D   Other. Specify_ _ _ _ _ _ _ _ _ _ __
      !if No
      D      Yes



0     Ka~ Jewelers
                                                                                     Last 4 digits of account number _ _ _ _                                 $_    320.00
      Nonpriorily Creditor's Name
                                                                                    When was the debt incurred?
      375 Ghent Rd.
      Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
      Akron                                             OH             44333
      City                                             State          ZIP   Code     D   Contingent
                                                                                     D   Unliquidated
      Who incurred the debt? Check one.                                              D   Disputed
      ~ Debtor 1 only
      D      Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
      D      Debtor 1 and Debtor 2 only
                                                                                     D   Student loans
      D      At least one of the debtors and another
                                                                                     D   Obligations arising out of a separation agreement or divorce that                    ·'J.....:/'•di
                                                                                         you did not report as priority claims
      D      Check if this claim is for a community debt
                                                                                     D   Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                D   Other. Specify_ _ _ _ _ _ _ _ _ _ _ __

      ~No
      D      Yes


Gil   Spectrum- Charter Communications                                              Last 4 digits of account number       .1_ _§_ _Q_      ~
                                                                                                                                                             $     337.00 ·

      Nonpriorily Creditor's Name
                                                                                    When was the debt incurred?           05/01/2019
      PO Box 1060
      Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
      Carol Stream                                     IL              60132
      City                                             State          ZIP   Code     D   Contingent
                                                                                     D   Unliquidated
      Who incurred the debt? Check one.
                                                                                     D   Disputed
      ~ Debtor 1 only
      D      Debtor 2 only                                                          Type of NON PRIORITY unsecured claim:
      D      Debtor 1 and Debtor 2 only
                                                                                     D   Student loans
      D      At least one of the debtors and another
                                                                                     D   Obligations arising out of a separation agreement or divorce that
                                                                                         you did not report as priority claims
      D      Check if this claim is for a community debt
                                                                                     D   Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                D   Other. Specify_ _ _ _ _ _ _ _ _ _ _ __
      ~No
      D      Yes




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 Debtor 1          Troy Dorrell Myers                                                                    Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name       Middle Name           Last Name




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 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                       Total claim



~      Nelnet                                                                       Last 4 digits of account number         .1._ ...Q_   ~   .]_              $   30,561.(1
      Nonpriority Creditor's Name
                                                                                   When was the debt lncu rred?
       PO Box 2970
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Omaha                                            NE             68103
      City                                             State          ZIP Code      D     Contingent
                                                                                    D     Unliquidated
      Who incurred the debt? Check one.                                             D     Disputed
      l;j' Debtor 1 only
      D Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
      D Debtor 1 and Debtor 2 only                                                  if"   Student loans
      D At least one of the debtors and another                                     D     Obligations arising out of a separation agreement or divorce that
                                                                                          you did not report as priority claims
      D      Check If this claim Is for a community debt
                                                                                    D     Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               D     Other. Specify_ _ _ _ _ _ _ _ _ _ __

      liif No
      D      Yes




~      Navient                                                                      Last 4 digits of account number        JL _§_ JL _1_                      $_ _ __

      Nonpriority Creditor's Name
                                                                                   When was the debt Incurred?
       PO Box 9635
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Wilkes-Barre                                     PA             18773
      City                                             State          ZIP Code      D     Contingent
                                                                                    D     Unliquidated
      Who Incurred the debt? Check one.
                                                                                    D     Disputed
      i;I" Debtor 1 only
      D      Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
      D      Debtor 1 and Debtor 2 only
                                                                                    if"   Student loans
      D      At least one of the debtors and another
                                                                                    D     Obligations arising out of a separation agreement or divorce that
                                                                                          you did not report as priority claims
      D      Check if this claim is for a community debt
                                                                                    D     Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               D     Other. Specify_ _ _ _ _ _ _ _ _ _ _ __

      ~No
      D      Yes


~                                                                                   Last 4 digits of account number         _1_ _§__ J_ J_
                                                                                                                                                              $_ _ __         -....->,\,I.;,.


       Navient
      Nonpriority Creditor's Name
                                                                                   When was the debt incurred?
      PO Box 9635
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Wilkes-Barre                                     PA              18773
      City                                             State          ZIP Code      D     Contingent
                                                                                    D     Unliquidated
      Who incurred the debt? Check one.
                                                                                    D     Disputed
      D      Debtor 1 only
      D      Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
      D      Debtor 1 and Debtor 2 only
                                                                                    D     Student loans
      D      At least one of the debtors and another
                                                                                    D     Obligations arising out of a separation agreement or divorce that
                                                                                          you did not report as priority claims
      D      Check If this claim Is for a community debt
                                                                                    0     Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               D     Other. Specify_ _ _ _ _ _ _ _ _ _ _ __

      D      No
      D      Yes




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 Debtor 1             Lafon Nicole Bryant                                                                 Case number (if/mown),_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                      First Name       Middle Name           Last Name



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  After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                       Total claim



r::7
l.:.:J   Wri9ht Patt Credi·tu rnon
                                .                                                     Last 4 digits of account number _ _ _ _
                                                                                                                                                               $   500.00
         Nonpriority Creditor's Name
                                                                                      When was the debt Incurred?
         2455 Executive Park Blvd PO Box 286
         Number            Street
                                                                                      As of the date you file, the claim is: Check all that apply.
         Fairborn                                          OH             45324
         City                                             State          ZIP Code      D   Contingent
                                                                                       D   Unliquidated
         Who incurred the debt? Check one.                                             D   Disputed
         !;1' Debtor 1 only
         D Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
         D Debtor 1 and Debtor 2 only                                                  D   Student loans
         D At least one of the debtors and another                                     D   Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
         D      Check if this claim is for a community debt
                                                                                       0   Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                               D   Other. Specify_ _ _ _ _ _ _ _ _ _ _ __

         lia No
         D      Yes




D                                                                                      Last 4 digits of account number _ _ _ _                                 $._ _ __

         Nonpriorily Creditor's Name
                                                                                      When was the debt Incurred?

         Number            Street
                                                                                      As of the date you file, the claim is: Check all that apply.

         City                                             State          ZIP Code      D   Contingent
                                                                                       D   Unliquidated
         Who incurred the debt? Check one.                                             D   Disputed
         D      Debtor 1 only
         D      Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
         D      Debtor 1 and Debtor 2 only
                                                                                       D   Student loans
         D      At least one of the debtors and another
                                                                                       D   Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
         D      Check If this claim is for a community debt
                                                                                       D   Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                               D   Other. Specify_ _ _ _ _ _ _ _ _ _ _ __

         D      No
         D      Yes


D                                                                                     Last 4 digits of account number _ _ _ _
                                                                                                                                                               $_ _ __


         Nonpriorily Creditor's Name
                                                                                      When was the debt incurred?

         Number            Street
                                                                                      As of the date you file, the claim Is: Check all that apply.

         City                                             State          ZIP Code      D   Contingent
                                                                                       D   Unliquidated
         Who incurred the debt? Check one.
                                                                                       D   Disputed
         D      Debtor 1 only
         D      Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
         D      Debtor 1 and Debtor 2 only
                                                                                       D   Student loans
         D      At least one of the debtors and another
                                                                                       D   Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
         D      Check if this claim Is for a community debt
                                                                                       D   Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                               D   Other. Specify_ _ _ _ _ _ _ _ _ _ _ __

         D      No
         D      Yes




Official Form 106E/F
                                        Document      Page 33 of 68
                                                              Schedule E/F: Creditors Who Have Unsecured Claims                                                page_of_
                Desc Main                Filed 11/06/19 Entered 11/06/19 11:34:24                                Doc 1          Case 3:19-bk-33451
 Debtor 1      Troy Dorrell Myers                                                                 Case number (If known), _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                First Name    Middle Name           Last Name



               List Others to Be Notified About a Debt That You Already Listed

 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts In Parts 1 or 2, do not fill out or submit this page.

       Plaza Services                                                      On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

       110 Hammond Drive                                                   Line~ of ( Check one):          D      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                liZf   Part 2: Creditors with Nonpriority Unsecured Claims
       Suite 110
                                                                           Last 4 digits of account number _            __ _
       Atlanta                              GA            30328
      City                                  State               ZIP Code


       CaQital One Bank                                                    On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

       120 Corporate Blvd                                                  Line   4. 12 of ( Check one): D Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                ~ Part 2: Creditors with Nonpriority Unsecured
       STE 100                                                             Claims

       Norfolk                              VA            23502            Last 4 digits of account number~ ~ ~ ~
      City                                  State               ZIP Code


       Charter Communications                                              On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

       6080 Tennyson Parkway                                               Line   4.18 of ( Check one): D         Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                             r;/       Part 2: Creditors with Nonpriority Unsecured
       Suite 100                                                           Claims

       Plano                                 TX            75024           Last 4 digits of account number _1_          _§_ _Q _§_
      City                                  State               ZIP Code

                                                                           On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                           Line         of ( Check one):   D      Part 1: Creditors with Priority Unsecured Claims
      Number         Street
                                                                                                           D      Part 2: Creditors with Nonpriority Unsecured
                                                                           Claims

                                                                           Last 4 digits of account number _            __ _
      City                                  State               ZIP Code


                                                                           On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                           Line         of ( Check one):   D      Part 1: Creditors with Priority Unsecured Claims
      Number         Street
                                                                                                           D      Part 2: Creditors with Nonpriority Unsecured
                                                                           Claims

                                                                           Last 4 digits of account number _            __ _
      City                                  State               ZIP Code


                                                                           On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                           Line         of (Check one):    D      Part 1: Creditors with Priority Unsecured Claims
      Number         Street
                                                                                                           D      Part 2: Creditors with Nonpriority Unsecured
                                                                           Claims

                                                                           Last 4 digits of account number _            __ _
      City                                  State               ZIP Code


                                                                           On which entry in Part 1 or Part 2 did you list the original creditor?
      Name


                                                                           Line         of ( Check one):   D      Part 1: Creditors with Priority Unsecured Claims
      Number         Street
                                                                                                           D      Part 2: Creditors with Nonpriority Unsecured
                                                                           Claims


      City                                  State               ZIP Code
                                                                           Last 4 digits of account number _            __ _



Official Form 106E/F
                               Document      Page 34 of 68
                                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                   page_of_
             Desc Main          Filed 11/06/19 Entered 11/06/19 11:34:24                                    Doc 1           Case 3:19-bk-33451
Debtor 1     Troy Dorrell Myers                                                               Case number (If known),_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
             First Name     Middle Name         Last Name



            Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
   Add the amounts for each type of unsecured claim.




                                                                                        Total claim


T tal   .   6a. Domestic support obligations                                  6a.                          770.36
  o ca1ms
      1                                                                                 $
from Part 1
            6b. Taxes and certain other debts you owe the
                government                                                    6b.       $,              4,530.03

              6c. Claims for death or personal injury while you were
                    intoxicated                                               6c.                             0.00
                                                                                        $

              6d. Other. Add all other priority unsecured claims.
                  Write that amount here.                                     6d.                       5,300.39
                                                                                    +$



              6e. Total. Add lines 6a through 6d.                             6e.   I   $_ _            5,300.39


                                                                                        Total claim


Total claims 6f. Student loans                                                6f.                      48,801.00
                                                                                         $
from Part2
             6g. Obligations arising out of a separation agreement
                 or divorce that you did not report as priority
                 claims                                                       6g.        $                    0.00
              6h. Debts to pension or profit-sharing plans, and other
                   similar debts                                              6h.       $,                    0.00

              6i. Other. Add all other nonpriority unsecured claims.
                  Write that amount here.                                     6i.   +$                 27,918.04
                                                                                                                                                          , ,, , .~_',>Ill\,<~-




              6j. Total. Add lines 6f through 6i.                             6j.   I   $              76,719.04      I




Official Form 106E/F
                             Document      Page 35 of 68
                                                    Schedule E/F: Creditors Who Have Unsecured Claims                                         page_of_
           Desc Main          Filed 11/06/19 Entered 11/06/19 11:34:24                                Doc 1      Case 3:19-bk-33451
 Fill in this information to identify your case:


 Debtor             Troy Dorrell Myers
                    First Name             Middle Name               Last Name

 Debtor 2
 (Spouse If ming)   First Name             Middle Name               Last Name


 United States Bankruptcy Court for the: Southern District of Ohio

 Case number
  (If known)                                                                                                                             D Check if this is an
                                                                                                                                            amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      D   No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
      liif Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule AIB: Property (Official Form 106A/B).
 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
      example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
      unexpired leases.



      Person or company with whom you have the contract or lease                               State what the contract or lease is for


2.1
      Vinebrook Homes                                                                   Rental Lease (Apartment)
      Name
      5550 Huber Rd
      Number           Street
      Huber Heights                 OH            45424
      City                             State      ZIP Code

2.2
      Name


      Number           Street


      City                             State      ZIP Code
2.3
      Name


      Number           Street


      City                             State      ZIP Code

2.4
      Name


      Number           Street


      ~                                State      ZIP Code

2.5
      Name


      Number           Street


      City                             State      ZIP Code


Qfficial Form 106G
                                 Document      Page 36 of 68
                                               Schedule G: Executory Contracts and Unexpired Leases                                           page 1 of_
             Desc Main            Filed 11/06/19 Entered 11/06/19 11:34:24                                Doc 1        Case 3:19-bk-33451
 Fill in this information to identify your case:


 Debtor 1          Troy Dorrell Myers
                      First Name                    Middle Name                 Last Name

 Debtor 2
 (Spouse, if filing) First Name                     Middle Name                 Last Name


 United States Bankruptcy Court for the: Southern District of Ohio

 Case number
 (If known)
                                                                                                                                            D Check if this is an
                                                                                                                                               amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                               12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.
                                                                                                                                                                 •
 1. Do you have any codebtors? ( If you are filing a joint case, do not list either spouse as a codebtor.)
     ~ No
     Cl    Yes
 2. Within the last 8 years, have you lived in a community property state or territory? ( Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
     lif No. Go to line 3.
     Cl    Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

           D     No
           D     Yes. In which community state or territory did you live? _ _ _ _ _ _ _ _. Fill in the name and current address of that person.



                 Name of your spouse, former spouse, or legal equivalent



                 Number              Street



                 City                                             State                     ZIP Code


 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 1060), Schedule EJF (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule EIF, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                            Column 2: The creditor   to whom you owe the debt
                                                                                                          Check all schedules that apply:

~         Name
                                                                                                          D   Schedule D, line ___
                                                                                                          D   Schedule E/F, line _ _ _
         Number             Street                                                                        D   Schedule G, line _ _ _

         City                                                        State                   ZIP Code

§]                                                                                                        D   Schedule D, line _ _ _
         Name
                                                                                                          D   Schedule E/F, line ___
         Number            Street                                                                         D   Schedule G, line _ _ _

         City                                                        State                   ZIP Code

§]                                                                                                        D   Schedule D, line ___
          Name
                                                                                                          D   Schedule E/F, line _ _ _
         Number            Street                                                                         D   Schedule G, line ___

         City                                                        State                   ZIP Code



Official Form 106H
                                          Document      Page 37 of 68        Schedule H: Your Codebtors                                          page 1 of_
            Desc Main                      Filed 11/06/19 Entered 11/06/19 11:34:24                         Doc 1        Case 3:19-bk-33451
  Fill in this information to identify your case:


  Debtor 1            Troy Dor-rell Myers
                      First Name              Middle Name               Last Name

  Debtor 2
  (Spouse, if filing) First Na me             Middle Name               Last Name


  United States Bankruptcy Court for the: Southern District of Ohio

  Case number                                                                                                  Check if this is:
   (If known)
                                                                                                               D An amended filing _
                                                                                                               D A supplement showing postpetition chapter 13
                                                                                                                  income as of the following date:
Official Form 1061
                                                                                                                                                                      ...
                                                                                                                  MM/ DD/ YYYY

Schedule I: Your Income                                                                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not Include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


•Iii                 Describe Employment

 1. Fill   in your employment
       information.                                                           Debtor 1                                          Debtor 2 or non.filing spouse

       If you have more than one job,
       attach a separate page with
       information about additional         Employment status              if Employed                                          D   Employed
       employers.                                                          D Not employed                                       D   Not employed

       Include part-time, seasonal, or
       self-employed work.
                 .            .             Occupation                   Mail Carrier
       Occupation may include student
       or homemaker, if it applies.
                                            Employer's name              USPS

                                            Employer's address
                                                                          ~ Slj l " >t ili'#n
                                                                         .)               '               xe o,9' Pd
                                                                          Number    Stree .    .    C);H Lj,SLj :Yt-         Number    Street

                                                                          f:>P(i,1/N/1<[4      r'

                                                                          City                State   ZIP Code               City                  State   ZIP Code

                                            How long employed there?



•IfE                 Give Details About Monthly Income

       Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
       spouse unless you are separated.
       If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
       below. If you need more space, attach a separate sheet to this form.

                                                                                                          For Debtor 1       For Debtor 2 or
                                                                                                                             non-filing spouse
  2.   List monthly gross wages, salary, and commissions (before all payroll
        deductions). If not paid monthly, calculate what the monthly wage would be.           2.                                   $,_ _ __
                                                                                                      $     2,926.00
  3.    Estimate and list monthly overtime pay.                                               3.    +$           0.00       +      $_ _ _ _


  4. Calculate gross income. Add line 2 + line 3.                                             4.      $     2.926.00     II     $ _ _ __




-Official Form 1061                 Document      Page 38 of 68       Schedule I: Your Income                                                              page1
             Desc Main               Filed 11/06/19 Entered 11/06/19 11:34:24                                    Doc 1        Case 3:19-bk-33451
Debtor 1        Troy Dorrell Myers                                                                                                     Case number (if known),_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                  First Name          Middle Name                 Last Name



                                                                                                                                   For Debtor 1           For Debtor 2 or
                                                                                                                                                          non-filing SOOU§e
                                                                                                                                                              $ _ _ _ _ __
   Copy line 4 here ...............................................................................................   -+ 4.        $      2,926.00

5. List all payroll deductions:

    5a. Tax, Medicare, and Social Security deductions                                                                    5a.       $        383.00            $
    5b. Mandatory contributions for retirement plans                                                                     5b.       $          0.00            $
    5c. Voluntary contributions for retirement plans                                                                     5c.       $          0.00            $
    5d. Required repayments of retirement fund loans                                                                     5d.       $          0.00            $
    5e. Insurance                                                                                                        5e.       $        359.00            $
    5f. Domestic support obligations                                                                                     5f.       $        770.00            $

    5g. Union dues                                                                                                       5g.       $          61.00           $

    5h. Other deductions. Specify:                  garnishment                                                          5h. +$             196.00       + $

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                          6.        $      1,769.00            $


 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                  7.        $      1,157.00            $


 8. list all other income regularly received:

    8a. Net income from rental property and from operating a business,
           profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total
                                                                                                                                   $           0.00           $,
           monthly net income.                                                                                           Ba.
     8b. Interest and dividends                                                                                          8b.       $,          0.00           $
    8c. Family support payments that you, a non-filing spouse, or a dependent
           regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                               0.00
                                                                                                                                   $                          $,
           settlement, and property settlement.                                                                          8c.

    8d. Unemployment compensation                                                                                        8d.       $           0.00           $,
     8e. Social Security                                                                                                 8e.       $           0,00           $

     8f. Other government assistance that you regularly receive
           Include cash assistance and the value (if known) of any non-cash assistance
           that you receive, such as food stamps (benefits under the Supplemental
           Nutrition Assistance Program) or housing subsidies.
           Specify:____________________                                                                                  8f.       $           0.00           $

     89. Pension or retirement income                                                                                    8g.       $           0.00           $_
     8h. Other monthly income. Specify: _ _ _ _ _ _ _ _ _ _ _ __                                                         8h. +$                0.00          +$

 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                                9.    I   $           0.001     1    $
                                                                                                                                                                                  I
10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                            10
                                                                                                                               I   $      1. 157.00   I+ I    $
                                                                                                                                                                                  H          1,157.00

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:____________________________                                                                                                                                    11.   +   $           0.00


                                                                                                                                                                                      ~
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Your Assets and Uabilities and Certain Statistical Information, if it applies                                                       12.              1,157.00
                                                                                                                                                                                      Combined
                                                                                                                                                                                      monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     li1' No.
     D     Yes. Explain:



Official Form 1061                      Document      Page 39 of 68                     Schedule I: Your Income                                                                           page 2 --
           Desc Main                     Filed 11/06/19 Entered 11/06/19 11:34:24                                                             Doc 1          Case 3:19-bk-33451
           Fill in this information to identify your case:

           Debtor 1          Troy Dorrell Myers
                               First Name              Middle Name             Last Name                      Check if this is:
           Debtor 2
           (Spouse, if filing) First Name              Middle Name             Last Name
                                                                                                              D An amended filing
                                                                                                              D Asupplement showing postpetition chapter 13
           United States Bankruptcy Court for the: Southern District of Ohio                                      expenses as of the following date:
           Case number                                                                                            MM/ DD/ YYYY
           (If known)




       Official Form 106J
       Schedule J: Your Expenses                                                                                                                                   12/15

      Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
      information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
      (if known). Answer every question.

     •§fi+I                  Describe Your Household

      1.   Is this a joint case?

            it' No.   Go to line 2.
            D    Yes. Does Debtor 2 live in a separate household?

                        D     No
                        D     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

      2. Do you have dependents?                     D   No
                                                                                           Dependent's relationship to              Dependent's        Does dependent llve
            Do not list Debtor 1 and                 ~Yes.Fill out this information for Debtor 1 or Debtor 2                        age                with you?
            Debtor 2.                                  each dependent.. ........................ - - - - - - - - - - -
            Do not state the dependents'                                                   Daughter                                 11
                                                                                                                                                       lif No
            names.                                                                                                                                     0    Yes

                                                                                           Son                                      I                  lif No
                                                                                                                                                       D    Yes

                                                                                           Daughter                                 ~
                                                                                                                                                       D    No
                                                                                                                                                       it' Yes
                                                                                                                                                       D    No
                                                                                                                                                       D    Yes
                                                                                                                                                       D    No
                                                                                                                                                       D    Yes

      3. Do your expenses include
         expenses of people other than
                                                     ~   No
         yourself and your dependents?               D   Yes



     1§fI                Estimate Your Ongoing Monthly Expenses

      Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
      expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
      applicable date.
      Include expenses paid for with non-cash government assistance if you know the value of
      such assistance and have included it on Schedule I: Your Income (Official Form 1061.)                                                 Your expenses

       4. The rental or home ownership expenses for your residence. Include first mortgage payments and
             any rent for the ground or lot.                                                                                            $                   740.00
                                                                                                                              4.

             If not included in line 4:
             4a.     Real estate taxes                                                                                        4a.       $                     0.00
              4b.    Property, homeowner's, or renter's insurance                                                             4b.        $                    0.00
              4c.    Home maintenance, repair, and upkeep expenses                                                            4c.        $                    0.00
             4d.     Homeowner's association or condominium dues                                                              4d.       $                     0.00

~·   Official Form 106J

                     Desc Main
                                            Document      Page 40 of 68Schedule J: Your Expenses

                                             Filed 11/06/19 Entered 11/06/19 11:34:24                              Doc 1          Case 3:19-bk-33451
                                                                                                                                                              page 1
 Debtor 1           Troy_Dorr~II Myers                                                      Case number (lfknown),_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                    First Name   Middle Name        Last Name




                                                                                                                          Your expenses


                                                                                                                      $                     0.00
  5. Additional mortgage payments for your residence, such as home equity loans                                5.


  6.   Utilities:
       6a.   Electricity, heat, natural gas                                                                    6a.    $                   250.00
       6b.   Water, sewer, garbage collection                                                                  6b.    $                     0.00
       6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.    $                    70.00
       6d.   Other. Specify:                                                                                   6d.    $

 7.    Food and housekeeping supplies                                                                          7.     $                   400.00
 8.    Childcare and children's education costs                                                                8.     $                     0.00
 9.    Clothing, laundry, and dry cleaning                                                                     9.     $                   100.00
10.    Personal care products and services                                                                     10.    $                   100.00
11.    Medical and dental expenses                                                                             11.    $                    20.00
12.    Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                      $                   200.00
       Do not include car payments.                                                                            12.

13.    Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.    $                     0.00
14.    Charitable contributions and religious donations                                                        14.    $                     0.00
15.    Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

       15a. Life insurance                                                                                     15a.   $                     0.00
       15b Health insurance                                                                                    15b.   $                     0.00
       15c. Vehicle insurance                                                                                  15c.   $                     0.00
       15d. Other insurance. Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                         15d.   $

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:_IR_S_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                       16.    $                    75.00

17.    Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                         17a.   $                     0.00
       17b. Car payments for Vehicle 2                                                                         17b.   $
       17c. Other. Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                             17c.   $
       17d. Other. Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                             17d.   $

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 1061).                                        18.                         0.00
                                                                                                                      $

19.    Other payments you make to support others who do not live with you.
       Specify:   Children that do not reside with me                                                           19.   $                   150.00

20.    Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                        20a.   $                     0.00

       20b. Real estate taxes                                                                                  20b.   $                     0.00
       20c. Property, homeowner's, or renter's insurance                                                       20c.   $                     0.00
       20d. Maintenance, repair, and upkeep expenses                                                           20d.   $                     0.00
       20e. Homeowner's association or condominium dues                                                        20e.   $                     0.00


Official Form 106J                                              Schedule J: Your Expenses                                                   page2
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             Desc Main              Filed 11/06/19 Entered 11/06/19 11:34:24                       Doc 1        Case 3:19-bk-33451
      Debtor 1        Troy Dorrell Myers                                                             Case number (if known),.__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                      First Name    Middle Name        Last Name




     21.    Other. Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                        21.   +$                      0.00


     22.    Calculate your monthly expenses.

            22a. Add lines 4 through 21.                                                                              22a.     $                2,105.00
            22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                      22b.     $ _ _ _ _ __

            22c. Add line 22a and 22b. The result is your monthly expenses.                                           22c.     $                2,105.00


     23. Calculate your monthly net income.
                                                                                                                                   $            1,157.00
           23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

           23b.   Copy your monthly expenses from line 22c above.                                                      23b.   -$                2,105.00

           23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                $                 -948.00
                  The result is your monthly net income.                                                               23c.




     24. Do you expect an increase or decrease in your expenses within the year after you file this form?

           For example, do you expect to finish paying for your car loan within the year or do you expect your
           mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

           li2i'No.
           [J Yes.      Explain here:




     Official Form 106J                                            Schedule J: Your Expenses
••                Desc Main
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                                         Filed 11/06/19 Entered 11/06/19 11:34:24                            Doc 1        Case 3:19-bk-33451
                                                                                                                                                      page 3
        Fill in this information to identify your case:


        Debtor 1             Troy Dorrell Myers
                             First Name                   Middle Name              Last Name

        Debtor 2
        (Spouse, if filing) First Name                    Middle Name              Last Name


        United States Bankruptcy Court for the: Southern District of Ohio

        Case number
         (If known)                                                                                                                            CJ Check if this is an
                                                                                                                                                  amended filing




      Official Form 107
      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                        04/19
      Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
      information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
      number (if known). Answer every question.


                        Give Details About Your Marital Status and Where You Lived Before


        1. What is your current marital status?

             D Married
             fii' Not married
        2. During the last 3 years, have you lived anywhere other than where you live now?
             D    No
             ~ Yes.      List all of the places you lived in the last 3 years. Do not include where you live now.

                      Debtor 1:                                             Dates Debtor 1       Debtor 2:                                          Dates Debtor 2
                                                                            lived there                                                             lived there


                                                                                                 D   Same as Debtor 1                              0   Same as Debtor 1

                       2409 Oakridge Dr                                     From 06/01/2018                                                            From _ __
                      Number              Street                                                     Number Street
                                                                                    05/31/2016                                                         To
                                                                            To
                                                                                     ---
                       Dayton                          OH       45417
                      City                              State ZIP Code                               City                   State ZIP Code


                                                                                                 D   Same as Debtor 1                              0   Same as Debtor 1


                                                                            From                                                                       From
                      Number              Street                                                     Number Street
                                                                            To       ---                                                               To




                      City                              State ZIP Code                               City                   State   ZIP Code


        3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? ( Community property
           states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
             ~No
             D    Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




      1111,            Explain the Sources of Your Income

     Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                          page 1

;J                                                 Document      Page 43 of 68
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    Debtor 1       Troy Dorrell Myers                                                                            Case number (if known,__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                     First Name      Middle Name           Last Name




     4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
        Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
         If you are fiting a joint case and you have income that you receive together, list it only once under Debtor 1.

         lif No
         D     Yes. Fill in the details.

                                                                  Debtor1                                                 Debtor2

                                                                  Sources of income              Gross income             Sources of income          Gross income
                                                                  Check all that apply.          (before deductions and   Check all that apply.      (before deductions and
                                                                                                 exclusions)                                         exclusions)


                From January 1 of current year until              li2I"   Wages, commissions,
                                                                                                 $        23,574.00
                                                                                                                          D   Wages, commissions,
                                                                                                                                                     $ _ _ _ __
                                                                          bonuses, tips                                       bonuses, tips
                the date you filed for bankruptcy:
                                                                  D       Operating a business                            D   Operating a business


                For last calendar year:                           ~       Wages, commissions,                             0   Wages, commissions,
                                                                          bonuses, tips          $        58,666.00           bonuses, tips          $ _ _ _ __
                (January 1 to December 31,_2..._0..,_18.,.____    D       Operating a business                            D   Operating a business
                                                   yyyy


                For the calendar year before that:                GZI" Wages, commissions,                                D   Wages, commissions,
                                                                          bonuses, tips                                       bonuses.tips
                                                                                                 $        30,742.00                                  $ _ _ _ __
                (January 1 to December 31, 2;;;..0'-'1'-'-7_ _,
                                                   yyyy
                                                                  0       Operating a business                            D   Operating a business




     5. Did you receive any other income during this year or the two previous calendar years?
        Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
        unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from la'NSuits; royalties; and
        gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

         List each source and the gross income from each source separately. Do not include income that you listed in line 4.

         Gl No
         D     Yes. Fill in the details.

                                                                  Debtor1                                                  Debtor2

                                                                  Sources of income              Gross income from         Sources of income         Gross Income from
                                                                  Describe below.                each source               Describe below.           each source
                                                                                                 (before deductions and                              (before deductions and
                                                                                                 exclusions)                                         exclusions)



                 From January 1 of current year until                                            $ _ _ _ _ _ _ - - - - - - - - $ _ _ _ _ __
                 the date you filed for bankruptcy:                                              $ _ _ _ _ _ _ - - - - - - - - $ _ _ _ _ __

                                                                                                 $_ _ _ _ _ _ - - - - - - - - $_ _ _ _ __


                                                                                                 $ _ _ _ _ __                                        $ _ _ _ _ __
                 For last calendar year:
                                                                                                 $ _ _ _ _ __                                        $ _ _ _ _ __
                 (January 1 to December 31,2018           )
                                                   yyyy
                                                                                                 $ _ _ _ _ __                                        $ _ _ _ _ __



                 For the calendar year before that:                                                                                                  $ _ _ _ _ __
                                                                                                 $_ _ _ _ _ _ - - - - - - - -
                (January 1 to December 31,2017            )                                                                                          $ _ _ _ _ __
                                                   yyyy                                          $_ _ _ _ _ _ - - - - - - - -
                                                                                                 $ _ _ _ _ __                                        $ _ _ _ _ __




·   Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page2

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             Debtor 1       Troy Dorrell Myers                                                                  Case number (lfknownJ1_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                            First Name       Middle Name            Last Name




                            List Certain Payments You Made Before You Filed for Bankruptcy



              &. Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

                  CJ    No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                            "incurred by an individual primarily for a personal, family, or household purpose."
                            During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                            CJ   No. Go to line 7.

                            CJ   Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                                      total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                                      child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
                            * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

                  6Z1   Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                            During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                            CJ   No. Go to line 7.

                            CJ   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                                      creditor. Do not include payments for domestic support obligations, such as child support and
                                      alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                                   Dates of      Total amount paid       Amount you still owe      Was this payment for...
                                                                                   payment

                                                                                                 $ _ _ _ _ __           $_ _ _ _ _ _
                                   Creditor's Name
                                                                                                                                                    CJ Mortgage
                                                                                                                                                    CJ Car
                                   Number    Street                                                                                                 CJ Credit card
                                                                                                                                                    CJ Loan repayment
                                                                                                                                                    CJ Suppliers or vendors
                                   City                    State        ZIP Code
                                                                                                                                                    CJ Other _ _ __

                                                                                                 $ _ _ _ _ __           $_ _ _ _ _ _
                                                                                                                                                    CJ Mortgage
                                   Creditor's Name
                                                                                                                                                    CJ Car
                                   Number    Street
                                                                                                                                                    CJ Credit card
                                                                                                                                                    CJ Loan repayment
                                                                                                                                                    CJ Suppliers or vendors
                                   City                    State        ZIP Code
                                                                                                                                                    CJ Other _ _ __


                                                                                                 $ _ _ _ _ _ _ $_ _ _ _ _ _
                                                                                                                                                   CJ   Mortgage
                                   Creditor's Name
                                                                                                                                                    CJ Car
                                   Number    Street                                                                                                 CJ Credit card
                                                                                                                                                    CJ Loan repayment
                                                                                                                                                    CJ Suppliers or vendors
                                                                                                                                                    CJ other _ _ _ __
                                   City                    State        ZIP Code




             Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                            page3

'   '   ,,
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Debtor 1       Troy Dorrell Myers                                                                    Case number (if known,__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
    Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
    corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
    agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
    such as child support and alimony.

     lif No
     D     Yes. List all payments to an insider.
                                                                        Dates of      Total amount     Amount you still    Reason for this payment
                                                                        payment       paid             owe

                                                                                     $ _ _ __         $_ _ __
            Insider's Name



            Number        Street




            City                                 State   ZIP Code


                                                                                     $ _ _ __         $ _ _ __
            Insider's Name


            Number        Street




            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     lif No
     D     Yes. List all payments that benefited an insider.

                                                                       Dates of       Total amount     Amount you still    Reason for this payment
                                                                       payment        paid             owe                 Include creditor's name

                                                                                     $ _ _ _ _ $ _ _ __
            Insider's Name



            Number        Street




            City                                 State   ZIP Code



                                                                                     $ _ _ _ _ $ _ _ __
            Insider's Name



            Number        Street




            City                                 State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page4

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Debtor 1       Troy Dorrell Myers                                                                                    Case number (if known),_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                 First Name            Middle Name            Last Name




                Identify Legal Actions, Repossessions, and Foreclosures
 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
    List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
    and contract disputes.

     !if No
     D     Yes. Fill in the details.
                                                                        Nature of the case                     Court or agency                                  Status of the case


            Case title_ _ _ _ _ _ _ _ _ _ _ __
                                                                                                              Court Name
                                                                                                                                                                D   Pending

                                                                                                                                                                D   Onappeal

                                                                                                              Number    Street                                  D   Concluded

            Case number
                                                                                                              City                   State    ZIP Code




            Case title_ _ _ _ _ _ _ _ _ _ _ __
                                                                                                              Court Name
                                                                                                                                                                D   Pending

                                                                                                                                                                D   Onappeal

                                                                                                              Number    Street                                  D   Concluded

            Case number
                                                                                                              City                   State    ZIP Code


 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     D No. Go to line 11.
     Ga' Yes. Fill in the information below.
                                                                                  Describe the property                                        Date         Value of the property

                                                                                 Car
                  Freedom First Credit Union                                                                                                   07/01/2019   $        6,515.00
                 Creditor's Name


                  1645 Webster St
                 Number       Street                                              Explain what happened

                                                                                  D      Property was repossessed.
                                                                                  D      Property was foreclosed.

                 Dayton                              OH        45404              Iii"   Property was garnished.
                 City                                State   ZIP Code             D      Property was attached, seized, or levied.

                                                                                 Describe the property                                         Date          Value of the propert1



                                                                                                                                                            $_ _ _ _ _
                 Creditor's Name



                 Number       Street
                                                                                 Explain what happened

                                                                                 D       Property was repossessed.
                                                                                 D       Property was foreclosed.

                 City                                State   ZIP Code
                                                                                 D       Property was garnished.
                                                                                 D       Property was attached, seized, or levied.



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Debtor 1          Troy Dorrell My_ers                                                                    Case number (If known),_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                  First Name      Middle Name            Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     liZl No
     D     Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action      Amount
                                                                                                                               was taken
           Creditor's Name


                                                                                                                                               $ _ _ _ __
           Number     Street




           City                           State   ZIP Code       Last 4 digits of account number: XXXX-_ _ _ _


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     Ga'   No
     D     Yes


•iii              List Certain Gifts and Contributions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     Ga'   No
     D     Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600           Describe the gifts                                           Dates you gave       Value
            per person                                                                                                        the gifts


                                                                                                                                                 $ _ _ __
           Person to Whom You Gave the Gift


                                                                                                                                                 $ _ _ __


           Number     Street



           City                           State   ZIP Code


           Person's relationship to you


           Gifts with a total value of more than $600            Describe the gifts                                           Dates you gave      Value
           per person                                                                                                         the gifts


                                                                                                                                                  $_ _ __
           Person to Whom You Gave the Gift


                                                                                                                                                  $ _ _ __



           Number     Street



           City                           State   ZIP Code


           Person's relationship to you _ _ _ _ __



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Debtor 1             Troy Dorrell Myers                                                                             Case number (If k n o w n ) ' - - - - - - - - - - - - - - - - - - -
                      First Name     Middle Name                Last Name




    14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

       !if No
       D      Yes. Fill in the details for each gift or contribution.

               Gifts or contributions to charities                     Describe what you contributed                                          Date you             Value
               that total more than $600                                                                                                      contributed



                                                                                                                                                                   $ _ _ __
              Charity's Name

                                                                                                                                                                   $ _ _ __



              Number      Street




              City           State        ZIP Code




-                     List Certain Losses

    15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
       disaster, or gambling?

       Gi No
       CJ     Yes. Fill in the details.

               Describe the property you lost and                       Describe any insurance coverage for the loss                          Date of your         Value of property
               how the loss occurred                                                                                                          loss                 lost
                                                                        Include the amount that insurance has paid. List pending insurance
                                                                        claims on line 33 of Schedule AIB: Property.


                                                                                                                                                                   $ _ _ __




•ifI                  List Certain Payments or Transfers
    16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property                                 to anyone
       you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

       li&f   No
       CJ     Yes. Fill in the details.

                                                                        Description and value of any property transferred                    Date payment or       Amount of payment
                                                                                                                                             transfer was
               Person Who Was Paid                                                                                                           made


               Number       Street                                                                                                                                 $ _ _ __


                                                                                                                                                                   $ _ _ __

               City                         State    ZIP Code



               Email or website address


               Person Who Made the Payment, if Not You



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Debtor 1           Troy_Dorrell Myers                                                                         Case number (if known,__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred               Date payment or        Amount of
                                                                                                                                    transfer was made      payment


            Person Who Was Paid
                                                                                                                                                          $ _ _ __

            Number       Street
                                                                                                                                                          $ _ _ __




            City                        State    ZIP Code




            Email or website address


            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     lif No
     CJ    Yes. Fill in the details.

                                                                    Description and value of any property transferred               Date payment or       Amount of payment
                                                                                                                                    transfer was
                                                                                                                                    made
            Person Who Was Paid

                                                                                                                                                          $ _ _ __
            Number        Street


                                                                                                                                                          $ _ _ __

            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     lif No
     CJ    Yes. Fill in the details.

                                                                   Description and value of property         Describe any property or payments received      Date transfer
                                                                   transferred                               or debts paid In exchange                       was made

            Person Who Received Transfer


            Number       Street




            City                        State    ZIP Code


            Person's relationship to you _ _ _ _ __



            Person Who Received Transfer


            Number       Street




            City                        Slate    ZIP Code

            Person's relationship to you _ _ _ _ __

Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        pages

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Debtor 1       Troy Dorrell Myers                                                                            Case number (if known),_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     ~ No
     D     Yes. Fill in the details.

                                                                   Description and value of the property transferred                                       Date transfer
                                                                                                                                                           was made


           Name of trust




• ¥5•:ft List Certain Flnanclal Accounts, Instruments, Safe Deposit Boxes, and Storage Units
 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     la No
     a Yes. Fill in the details.
                                                                   Last 4 digits of account number     Type of account or        Date account was       Last balance before
                                                                                                       Instrument                closed, sold, moved,   closing or transfer
                                                                                                                                 or transferred

            Name of Financial Institution
                                                                   XXXX-_       __ _                   a   Checking                                     $_ _ _ _

            Number       Street                                                                        a   Savings

                                                                                                       a Money market
                                                                                                       a Brokerage
            City                       State    ZIP Code                                               a other_ _ __

            Name of Financial Institution
                                                                   XXXX-_       __ _                   a Checking                                       $_ _ _ _

                                                                                                       a Savings
            Number       Street                                                                        a Money market
                                                                                                       a Brokerage
                                                                                                       a other,_ _ __
            City                       State    ZIP Code

 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     GI No
     a Yes. Fill in the details.
                                                                   Who else had access to it?                      Describe the contents                       Do you still
                                                                                                                                                               have It?

                                                                                                                                                               a No
            Name of Financial Institution                         Name
                                                                                                                                                               0   Yes


            Number       Street                                   Number   Street


                                                                  City       State      ZIP Code
            City                       State    ZIP Code



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Debtor 1          Troy_Dorre~ Myers                                                                                  Case number (if   known)'------------------
                    First Name     Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       if No
       0   Yes. Fill in the details.
                                                                    Who else has or had access to It?                      Describe the contents            Do you still
                                                                                                                                                            have It?

                                                                                                                                                             0No
             Name of Storage Facility                               Name                                                                                     aves
             Number       Street                                    Number    Street


                                                                    CityState ZIP Code

             City                        State    ZIP Code



                      Identify Property You Hold or Control for Someone Else
 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     [a No
       0   Yes. Fill in the details.
                                                                   Where is the property?                                  Describe the property         Value



             Owner's Name                                                                                                                                $_ __

                                                                  Number     Street
             Number       Street



                                                                  City                          State     ZIP Code
             City                        State    ZIP Code


•ifI•&                Give Detalls About EnYlronmental Information

 For the purpose of Part 10, the following definitions apply:
 111   Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
       hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
       including statutes or regulations controlling the cleanup of these substances, wastes, or material.

 111   Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
       utilize it or used to own, operate, or utilize it, including disposal sites.
 111   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
       substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

       ii No
       0   Yes. Fill in the details.
                                                                   Governmental unit                          Environmental law, if you know It         Date of notice



           Name of site                                           Governmental unit


           Number       Street                                     Number    Street


                                                                  City                 State   ZIP Code



           City                         State    ZIP Code




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            Desc Main                Filed 11/06/19 Entered 11/06/19 11:34:24                                                Doc 1        Case 3:19-bk-33451
Debtor 1         Troy_Dorr~IL Myers                                                                                    Case number (if known,__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                    First Name     Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     0      No
     0      Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, If you know It                   Date of notice



             Name of site                                         Governmental unit


             Number       Street                                  Number     Street



                                                                  City                  State    ZIP Code


             City                       State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     liZ(   No
     0      Yes. Fill in the details.
                                                                                                                                                                        Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                        case
            Case title_ _ _ _ _ _ _ _ _ _ __
                                                                    Court Name
                                                                                                                                                                        0    Pending

                                                                                                                                                                        0    Onappeal

                                                                    Number     Street                                                                                   0    Concluded


            Case number                                             City                        State   ZIP Code


                      Give Detalls About Your Business or Connections to Any Bnlneu
 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
            a
            A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
            a
            A member of a limited liability company (LLC) or limited liability partnership (LLP)
            a
            A partner in a partnership
            a
            An officer, director, or managing executive of a corporation
            0    An owner of at least 5% of the voting or equity securities of a corporation

     Ga No. None of the above applies. Go to Part 12.
     0      Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                               Employer Identification number
                                                                                                                                      Do not include Social Security number or ITIN.
             Business Name

                                                                                                                                      EIN: _ _ _ _ _ _ _ _ _
             Number       Street
                                                                    Name of accountant or bookkeeper                                  Dates business existed


                                                                                                                                      From               To
             City                       State    ZIP Code

                                                                    Describe the nature of the business                               Employer Identification number
                                                                                                                                      Do not Include Social Security number or ITIN.
             Business Name

                                                                                                                                      EIN: _ _ _ _ _ _ _ _ _ __
             Number       Street
                                                                    Name of accountant or bookkeeper                                  Dates business existed


                                                                                                                                      From               To
             City                       State    ZIP Code


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                     page 11

                                    Document      Page 53 of 68
            Desc Main                Filed 11/06/19 Entered 11/06/19 11:34:24                                                  Doc 1         Case 3:19-bk-33451
Debtor 1       Troy Dorrell Myers                                                                                   Case number (if known),_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                    First Name      Middle Name              Last Name




                                                                                                                                 Emplo)'er Identification number
                                                                     Describe the nature of the business
                                                                                                                                 Do not include Social Security number or ITIN.
             Business Name
                                                                                                                                 EIN: _ _ _ _ _ _ _ _ _ -                --

             Number        Street
                                                                     Name of accountant or bookkeeper                            Dates business existed



                                                                                                                                 From                To   ___
             City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     liZI   No
     CJ     Yes. Fill in the details below.

                                                                         Date issued




             Name                                                    MM/DD/YYYY



             Number        Street




             City                        State    ZIP Code




-SlenBelow
      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.



       JC                                                                              JC
                                                                                            Signature of Debtor 2


             Date    j   I/CJ~ /R;;o_                                                       Date _ _ _ _ __

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      CJ      No
      CJ      Yes



      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      CJ     No
      CJ     Yes. Name of person_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ . Attach the Bankruptcy Petition Preparers Notice,
                                                                                Declaration, and Signature (Official Form 119).




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                             page 12

                                     Document      Page 54 of 68
            Desc Main                 Filed 11/06/19 Entered 11/06/19 11:34:24                                             Doc 1        Case 3:19-bk-33451
     Fill in this information to identify your case:

      Debtor 1                Troy Dorrell Myers
                              First Name              Middle Name            Last Name

      Debtor 2
      (Spouse, if filing) First Name                  Middle Name            Last Name


      United States Bankruptcy Court for the: Southern District of Ohio

      Case number
          (If known)
                                                                                                                                                   D Check if this is an
                                                                                                                                                      amended filing



           Official Form 106Dec
           Declaration About an Individual Debtor's Schedules                                                                                                   12/15

           If two married people are filing together, both are equally responsible for supplying correct information.

          You must fite this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
          obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
          years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                              Sign Below



                Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                [al    No
                D      Yes.     Name of person._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ . Attach Bankruptcy Petition Preparer's Notice, Declaration, and

                                                                                                         Signature (Official Form 119).




                Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
                that they are true and correct.




              j(                                                            j(
                       --r1--~-==A
                                                                                 Signature of Debtor 2


                  Date//       /Q"-J B!JJG.
                     Mf'III DD 'jyyyy
                                                                                 Date _ _ _ _ _ __
                                                                                      MM/ DD I YYYY




    ··,
           Official Form 106Dec                                      Declaration About an Individual Debtor's Schedules
1                                             Document      Page 55 of 68
                        Desc Main              Filed 11/06/19 Entered 11/06/19 11:34:24                                     Doc 1         Case 3:19-bk-33451
  Fill in this information to identify your case:                                                      Check one box only as directed in this form and in
                                                                                                       Form 122A-1Supp:
 Debtor 1          Troy Dorrell Myers
                     First Name              Middle Name               Last Name
                                                                                                       lif 1. There is no presumption of abuse.
 Debtor 2
 (Spouse, if filing) First Name              Middle Name               Last Name                       Cl   2. The calculation to determine if a presumption of
                                                                                                               abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the: Southern District of Ohio                                             Means Test Calculation (Official Form 122A-2).

 Case number                                                                                           Cl   3. The Means Test does not apply now because of
  (If known)                                                                                                   qualified military service but it could apply later.



                                                                                                       D Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under§ 707(b)(2) (Official Form 122A-1Supp) with this form.

•if I             Calculate Your Current Monthly Income

 1. What is your marital and filing status? Check one only.
      liZi   Not married. Fill out Column A, lines 2-11.
      Cl     Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

      Cl     Married and your spouse is NOT filing with you. You and your spouse are:

             Cl   Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
             Cl   Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                  under penalty of perjury that you and your spouse are legally separated under non bankruptcy law that applies or that you and your
                  spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(8).

     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S. C. § 101 (10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
     Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A              Column B
                                                                                                       Debtor 1              Debtor 2 or
                                                                                                                             non-ftling spouse
 2. Your gross wages, salary, tips, bonuses, overtime, and commissions                                                         $ _ _ _ __
     (before all payroll deductions).                                                                   $    1,165.00
 3. Alimony and maintenance payments. Do not include payments from a spouse if
    Column B is filled in.
                                                                                                        $         0.00         $ _ __

 4. All amounts from any source which are regularly paid for household expenses
    of you or your dependents, including child support. Include regular contributions
    from an unmarried partner, members of your household, your dependents, parents,
    and roommates. Include regular contributions from a spouse only if Column Bis not
    filled in. Do not include payments you listed on line 3.                                            $         0.00         $ _ __

 5. Net income from operating a business, profession,
                                                                     Debtor 1      Debtor 2
     or farm
     Gross receipts (before all deductions)                           $_ _         $_ _

     Ordinary and necessary operating expenses                       -$_ _ -$_ _

     Net monthly income from a business, profession, or farm          $    0.00    $_ _       ~:::-+    $         0.00         $ _ __

 6. Net income from rental and other real property                   Debtor 1      Debtor 2
    Gross receipts (before all deductions)                            $_ _         $_ _
     Ordinary and necessary operating expenses                       -$ _ _ -$ _ _
                                                                                              Copy                             $ _ __
     Net monthly income from rental or other real property            $    0.00    $_ _ here-+          $         0.00
 7. Interest, dividends, and royalties                                                                  $ _ _ __               $ _ __




Official Form 122A-1              Document     Chapter 7 Statement of Your Current Monthly Income
                                                Page 56 of 68                                                                                           page 1
             Desc Main             Filed 11/06/19 Entered 11/06/19 11:34:24                                 Doc 1         Case 3:19-bk-33451
Debtor 1           Troy Dorrell Myers                                                                                       Case number (ifl<nown),_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name             Middle Name                     Last Name



                                                                                                                                Column A                    Column B
                                                                                                                                Debtor 1                    Debtor 2 or
                                                                                                                                                            non-filing spouse

 8. Unemployment compensation                                                                                                     $           0.00             $ _ _ _ __

      Do not enter the amount if you contend that the amount received was a benefit
      under the Social Security Act. Instead, list it here: ............................... -J,
         For you..................................................................................   $ _ _ _ _ __
         For your spouse...................................................................          $ _ _ _ _ __

 9.   Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act.                                                                                      $           0.00             $ _ _ __

 10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act or payments received
     as a victim of a war crime, a crime against humanity, or international or domestic
     terrorism. If necessary, list other sources on a separate page and put the total below.

                                                                                                                                 $                            $,
                                                                                                                                 $                            $,

       Total amounts from separate pages, if any.                                                                              +$                          +$

 11. Calculate your total current monthly income. Add lines 2 through 1Ofor each
     column. Then add the total for Column A to the total for Column 8.                                                           $ 1,165.00 +                $                   =1$     1, 165.ool
                                                                                                                                                                                      Total current
                                                                                                                                                                                      monthly income

                 Determine Whether the Means Test Applies to You

 12. Calculate your current monthly income for the year. Follow these steps:
      12a.     Copy your total current monthly income from line 11 ................................................................................... Copy line 11 here+         $ 1,165.00
               Multiply by 12 (the number of months in a year).                                                                                                                   X    12
      12b.     The result is your annual income for this part of the form.                                                                                                 12b.   $13,980 00
 13. Calculate the median family income that applies to you. Follow these steps:

      Fill in the state in which you live.                                                           Ohio

      Fill in the number of people in your household.                                                4

      Fill in the median family income for your state and size of household. .. ........................................................................................... 13.   $89,454.00
      To find a list of applicable median income amounts, go online using the link specified in the separate
      instructions for this form. This list may also be available at the bankruptcy clerk's office.
 14. How do the lines compare?

      14a. •       Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                   Go to Part 3.

      14b.   D     Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                   Go to Part 3 and fill out Form 122A-2.

•§fl               Sign Below

                 By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


                  JC   __,.,,.,,,,,,__...__..::___..:...--li,,:::_~
                                                                                                                    JC
                                                                                                                         Signature of Debtor 2


                       Date     ltli~D3/f{f;;                                                                            Date ------,-,~:-:-:-:~
                                                                                                                               MM/ DD /YYYY

                       If you checked line 14a, do NOT fill out or file Form 122A-2.
                       If you checked line 14b, fill out Form 122A-2 and file it with this form.


Official Form 122A-1                        Document               Chapter 7 Statement of Your Current Monthly Income
                                                          Page 57 of 68                                                                                                                 page2
             Desc Main                       Filed 11/06/19 Entered 11/06/19 11:34:24                                                  Doc 1            Case 3:19-bk-33451
   Fill in this information to identify your case:


  Debtor 1          Troy Dorrell Myers
                      First Name                 Middle Name           Last Name

  Debtor 2
  (Spouse, if filing) First Name                 Middle Name           Last Name


  United States Bankruptcy Court for the: Southern District of Ohio

  Case number
   (If known)

                                                                                                           0   Check if this is an amended filing




 Official Form 122A-1 Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                           1211s

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 if you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).



•§11            Identify the Kind of Debts You Have

1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
   personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
   Individuals Filing for Bankruptcy (Official Form 101 ).

   D       No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
               submit this supplement with the signed Form 122A-1.
   Ga Yes. Go to Part 2.

                Determine Whether Military Service Provisions Apply to You


2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?

   ~       No. Go to line 3.

   D       Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).

                 D No. Go to line 3.
                 D Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse,     and sign Part 3.
                            Then submit this supplement with the signed Form 122.A-1.

3. Are you or have you been a Reservist or member of the National Guard?
   liZI'   No. Complete Form 122A-1. Do not submit this supplement.
   D       Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1 ); 32 U.S.C. § 901(1 ).
           D    No. Complete Form 122A-1. Do not submit this supplement.
           D    Yes. Check any one of the following categories that applies:

                D   I was called to active duty after September 11, 2001, for at least           If you checked one of the categories to the left, go to
                    90 days and remain on active duty.                                           Form 122A-1. On the top of page 1 of Form 122.A-1,
                                                                                                 check box 3, The Means Test does not apply now, and
                D   I was called to active duty after September 11, 2001, for at least
                                                                                                 sign Part 3. Then submit this supplement with the signed
                    90 days and was released from active duty on - - - - - - ~
                                                                                                 Form 122A-1. You are not required to fill out the rest of
                    which is fewer than 540 days before I file this bankruptcy case.
                                                                                                 Official Form 122.A-1 during the exclusion period. The
                D   I am performing a homeland defense activity for at least 90 days.            exclusion period means the time you are on active duty
                                                                                                 or are performing a homeland defense activity, and for
                D   I performed a homeland defense activity for at least 90 days,                540 days afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                    ending on _ _ _ _ _ __, which is fewer than 540 days
                                                                                                 If your exclusion period ends before your case is closed,
                    before I file this bankruptcy case.
                                                                                                 you may have to file an amended form later.


Official Form 122.A-1Supp                   Statement of Exemption from Presumption of Abuse Under § 707(b)(2)
                                    Document      Page 58 of 68
               Desc Main             Filed 11/06/19 Entered 11/06/19 11:34:24                             Doc 1        Case 3:19-bk-33451
                                                                                                                                                       Check the appropriate box as directed rn
     Fill in this information to identify your case:
                                                                                                                                                      itnes 40 or    ,r;i:

     Debtor 1            Troy Dorrell Myers                                                                                                           According to the calculations required by
                         First Name                              Middle Name                          Last Name
                                                                                                                                                      this Statement:
     Debtor 2
     (Spouse, if filing) First Name                              Middle Name                          Last Name                                       Gt 1. There is no presumption of abuse.
     United States Bankruptcy Court for the: Southern District of Ohio                                                                                 D   2. There is a presumption of abuse.

     Case number
     (If known)
                                                                                                                                                       D   Check if this is an amended filing




Official Form 122A-2
Chapter 7 Means Test Calculation                                                                                                                                                                   04/19

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1 ).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space
is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional
pages, write your name and case number (if known).



•ifI                Determine Your Adjusted Income


1. Copy your total current monthly income•............................................................... Copy line 11 from Official Form 122A-1 here+ .......... .                        $     1,165.00

2. Did you fill out Column Bin Part 1 of Form 122A-1?

       ~ No. Fill in $0 for the total on line 3.
       D    Yes. Is your spouse filing with you?

             D     No. Go to line 3.

             D     Yes. Fill in $0 for the total on line 3.


3. Adjust your current monthly income by subtracting any part of your spouse's income not used to pay for the
       household expenses of you or your dependents. Follow these steps:

       On line 11, Column B of Form 122A-1, was any amount of the income you reported for your spouse NOT
       regularly used for the household expenses of you or your dependents?

       ~ No. Fill in O for the total on line 3.
       D    Yes. Fill in the information below:

                  State each purpose for which the income was used                                                         FIii in the amount you
                  For example, the income is used to pay your spouse's tax debt or to support                              are subtracting from
                  people other than you or your dependents                                                                 your spouse's Income


                                                                                                                            $                0

                                                                                                                            $_ _ _ _ _


                                                                                                                           +$
                                                                                                                             -----
               Total ................................................................................................. .    $            0.00
                                                                                                                                                    Copy total here ...............   + - $_ _ _0. 00
4.     Adjust your current monthly income. Subtract the total on line 3 from line 1.                                                                                                      $     1, 165.ool


Official Form 122A-2                                                                      Chapter 7 Means Test Calculation                                                                     page 1
                                              Document      Page 59 of 68
               Desc Main                       Filed 11/06/19 Entered 11/06/19 11:34:24                                                        Doc 1         Case 3:19-bk-33451
Debtor 1         Troy Dorrell Myers                                                                                                Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                  First Name         Middle Name                Last Name




                Calculate Your Deductions from Your Income


  The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to
  answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for
  this form. This information may also be available at the bankruptcy clerk's office.

  Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your
  actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted from your spouse's income in line 3
  and do not deduct any operating expenses that you subtracted from income in lines 5 and 6 of Form 122A-1.

  If your expenses differ from month to month, enter the average expense.

  Whenever this part of the form refers to you, it means both you and your spouse if Column B of Form 122A-1 is filled in.



   5. The number of people used in determining your deductions from income
        Fill in the number of people who could be claimed as exemptions on your federal income tax return,
        plus the number of any additional dependents whom you support. This number may be different from
        the number of people in your household.                                                                                                                      4


   National Standards                   You must use the IRS National Standards to answer the questions in lines 6-7.



   6.   Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National Standards, fill
        in the dollar amount for food, clothing, and other items.
                                                                                                                                                                                 $1,786.00


   7.   Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards,
        fill in the dollar amount for out-of-pocket health care. The number of people is split into two categorie5-i)eople who are
        under 65 and people who are 65 or older-because older people have a higher IRS allowance for health care costs. If your
        actual expenses are higher than this IRS amount, you may deduct the additional amount on line 22.


        People who are under 65 years of age


        7a.    Out-of-pocket health care allowance per person
                                                                                       $               0.00

        7b.    Number of people who are under 65
                                                                                        X        4

        7c.    Subtotal. Multiply line 7a by line 7b.                                  $              0.00         Copyhere+              $         0.00



           People who are 65 years of age or older


        7d.    Out-of-pocket health care allowance per person
                                                                                       $ _ _ __

        7e.    Number of people who are 65 or older                                    X


               Subtotal. Multiply line 7d by line 7e.                                  $_ _ __
        7f.                                                                                                        Copyhere+           + $____        .



        7g.    Total. Add lines 7c and 7f..................................................................................... .          $        0.00      Copytotal h e r e + ~




Official Form 122A-2                                                          Chapter 7 Means Test Calculation                                                                    page 2
                                       Document      Page 60 of 68
              Desc Main                 Filed 11/06/19 Entered 11/06/19 11:34:24                                                          Doc 1       Case 3:19-bk-33451
Debtor 1         Troy Dorrell Myers                                                                                   Case number (If/mown)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                  First Name        Middle Name            Last Name




   Local Standards               You must use the IRS Local Standards to answer the questions in lines 8-15.


   Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
   bankruptcy purposes into two parts:
   •    Housing and utilities - Insurance and operating expenses
   •    Housing and utilities - Mortgage or rent expenses

   To answer the questions in lines 8-9, use the U.S. Trustee Program chart.
   To find the chart, go online using the link specified in the separate instructions for this form.
   This chart may also be available at the bankruptcy clerk's office.


   8.   Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5, fill in the
        dollar amount listed for your county for insurance and operating expenses. . ...................................................................... .                   $   1,071.00

   9. Housing and utilities - Mortgage or rent expenses:

        Sa. Using the number of people you entered in line 5, fill in the dollar amount listed
            for your county for mortgage or rent expenses ...................................................................... .
                                                                                                                                            $          740.00

        Sb. Total average monthly payment for all mortgages and other debts secured by your home.


               To calculate the total average monthly payment, add all amounts that are
               contractually due to each secured creditor in the 60 months after you file for
               bankruptcy. Then divide by 60.


                Name of the creditor                                                           Average monthly
                                                                                               payment

                 Vinebrook Homes                                                                $        740.00

                                                                                                $ _ _ __



                                                                                           + $- - - - -
                                                                                                                -·-··--1
                                                                                                                                                                      Repeat this
                                             Total average monthly payment                      $        740.00
                                                                                                             Copy       Ii            -$                 740.00       amount on
                                                                                          _ _ _ _ _ _ _ _ j. here+                                                    line 33a.


        9c.     Net mortgage or rent expense.                                                                                        ,,,..... ··-··-·---·-        .

                ~~~~~~~!~~i:~:'.':n~~:~.~=~z.~1;,1: ~~~~                            Ii ne 9a   <rno~g~~~ or                          !      $           331. 00   I~::+         $
                                                                                                                                                                                    331.00



   10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and affects                                                     $ _ _ _ __
        the calculation of your monthly expenses, fill in any additional amount you claim.

        Explain
        why:




   11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
        liZf    0. Go to line 14.
        [J      1. Go to line 12.
        [J      2 or more. Go to line 12.



   12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
       operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                                                      $ _ _ __




Official Form 122A-2                                                    Chapter 7 Means Test Calculation                                                                            pagel
                                     Document      Page 61 of 68
           Desc Main                  Filed 11/06/19 Entered 11/06/19 11:34:24                                                  Doc 1               Case 3:19-bk-33451
Debtor 1       Troy Dorrell Myers                                                                                Case number cnnownJ._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                First Name          Middle Name         Last Name




   13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense
       for each vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle.
       In addition, you may not claim the expense for more than two vehicles.


       Vehicle 1             Describe Vehicle 1:




       13a.    Ownership or leasing costs using IRS Local Standard. ...................................................           $._ _ _ __

       13b.    Average monthly payment for all debts secured by Vehicle 1.
               Do not include costs for leased vehicles.
               To calculate the average monthly payment here and on line 13e, add all
               amounts that are contractually due to each secured creditor in the 60 months
               after you filed for bankruptcy. Then divide by 60.

                    Name of each creditor for Vehicle 1                         Average monthly
                                                                                payment
                                                                                   $ _ _ _ _ __


                                                                               +   $


                                     Total average monthly payment
                                                                            I      $.____                    I~=~             - $ _ _ __
                                                                                                                                                Repeat this
                                                                                                                                                amount on
                                                                                                                                                line 33b.

                                                                                                                                               Copynet
       13c. Net Vehicle 1 ownership or lease expense                                                                                           Vehicle 1
              Subtract line 13b from line 13a. If this amount is less than $0, enter $0 ............................. . [ ; ; ; _ ]            expense
                                                                                                                                                               $ _ __
                                                                                                                                               here ..... -+



       Vehicle2              Describe Vehicle 2:




       13d.    Ownership or leasing costs using IRS Local Standard..................................................             $_ _ _ __

       13e.    Average monthly payment for all debts secured by Vehicle 2.
               Do not include costs for leased vehicles.

                    Name of each creditor for Vehicle 2                         Average monthly
                                                                                payment

                                                                                   $ _ _ __




                                                                               +   $


                                                                                                               Copy                            Repeat this
                                      Total average monthly payment                $ _ _ __                                                    amount on
                                                                                                               here-+        -   $ _ _ _ __
                                                                                                                                               line 33c.


       13f.   Net Vehicle 2 ownership or lease expense
              Subtract line 13e from 13d. If this amount is less than $0, enter $0 ..................................... .
                                                                                                                             [;;]              Copy net
                                                                                                                                               Vehicle 2
                                                                                                                                               expense
                                                                                                                                               here ... -+
                                                                                                                                                               $ _ __


   14. Public transportation expense: If you claimed Ovehicles in line 11, using the IRS Local Standards, fill in the
       Public Transportation expense allowance regardless of whether you use public transportation.                                                            $    217.00

   15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
       deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim
       more than the IRS Local Standard for Public Transportation.                                                                                             $ _ _ __



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Debtor 1      Troy Dorrell Myers                                                                 Case number (if known),_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
              First Name    Middle Name             Last Name




   Other Necessary Expenses               In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                          the following IRS categories.


   16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes, self-
       employment taxes, Social Security taxes, and Medicare taxes. You may include the monthly amount withheld from your                       $   75.00
       pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12 and
       subtract that number from the total monthly amount that is withheld to pay for taxes.
       Do not include real estate, sales, or use taxes.


   17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
       union dues, and uniform costs.
                                                                                                                                                $     0.00
       Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.

   18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
       together, include payments that you make for your spouse's term life insurance. Do not include premiums for life
       insurance on your dependents, for a non-filing spouse's life insurance, or for any form of life insurance other than term.               $     0.00

   19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
       agency, such as spousal or child support payments.
                                                                                                                                                $ 385.00
       Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

   20. Education: The total monthly amount that you pay for education that is either required:
       • as a condition for your job, or
       • for your physically or mentally challenged dependent child if no public education is available for similar services.                   $     0.00

   21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
       Do not include payments for any elementary or secondary school education.
                                                                                                                                                $___Qi!0

   22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that
       is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a
       health savings account. Include only the amount that is more than the total entered in line 7.
       Payments for health insurance or health savings accounts should be listed only in line 25.                                               $     0.00


   23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for
       you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone
       service, to the extent necessary for your health and welfare or that of your dependents or for the production of income, if it      + $___Qi!0
       is not reimbursed by your employer.
       Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
       expenses, such as those reported on line 5 of Official Form 122A-1, or any amount you previously deducted.

   24. Add all of the expenses allowed under the IRS expense allowances.                                                                        $3,865.0C
       Add lines 6 through 23.




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Debtor 1       Troy Dorrell Myers                                                              Case number (If known), _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
               First Name     Middle Name        Last Name




   Additional Expense Deductions            These are additional deductions allowed by the Means Test.
                                            Note: Do not include any expense allowances listed in lines 6-24.


   25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
       insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your
       dependents.

       Health insurance                                           $ _ _ __

       Disability insurance                                       $ _ _ __

       Health savings account                                 +   $ _ _ __


       Total                                                      $        0.00                  Copy total here+ .................................... .       $       0.00

       Do you actually spend this total amount?

       D    No. How much do you actually spend?                   $ _ _ __
       D    Yes



   26. Continuing contributions to the care of household or family members. The actual monthly expenses that you will
      continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of your                             $       0.00
      household or member of your immediate family who is unable to pay for such expenses. These expenses may include
      contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).


   27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of
                                                                                                                                                               $       0.00
      you and your family under the Family Violence Prevention and Services Act or other federal la'NS that apply.
       By law, the court must keep the nature of these expenses confidential.


   28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.
       If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
      8, then fill in the excess amount of home energy costs.
                                                                                                                                                               $       0.00
      You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
      claimed is reasonable and necessary.


   29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $170.83*
      per child) that you pay for your dependent children who are younger than 18 years old to attend a private or public
      elementary or secondary school.                                                                                                                          $       0.00
      You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is
      reasonable and necessary and not already accounted for in lines 6-23.

       * Subject to adjustment on 4/01/22, and every 3 years after that for cases begun on or after the date of adjustment.


   30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are higher                                     $_~0.00
      than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more than 5% of the
      food and clothing allowances in the IRS National Standards.
      To find a chart showing the maximum additional allowance, go online using the link specified in the separate instructions for
      this form. This chart may also be available at the bankruptcy clerk's office.
      You must show that the additional amount claimed is reasonable and necessary.



   31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial                               +   $_ _ 0.00
      instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1 )-(2).



   32. Add all of the additional expense deductions.
      Add lines 25 through 31.                                                                                                                         Bo
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                    First Name            Middle Name                   Last Name




   Deductions for Debt Payment


   33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
       loans, and other secured debt, fill in lines 33a through 33e.
       To calculate the total average monthly payment, add all amounts that are contractually due to each secured
       creditor in the 60 months after you file for bankruptcy. Then divide by 60.


                                                                                                                                                          Average monthly
                                                                                                                                                          payment
                    Mortgages on your home:

           33a. Copy line 9b here ................................................................................................................   +     $       740.00

                    Loans on your first two vehicles:

           33b. Copy line 13b here .............................................................................................................  +        $ _ _ _ __


           33c.    Copy line 13e here............................................................................................................ +        $ _ _ _ _ __

           33d. List other secured debts:

                       Name of each creditor for other                              Identify property that                         Does payment
                       secured debt                                                 secures the debt                               include taxes
                                                                                                                                   or Insurance?

                                                                                                                                     D       No            $ _ _ __
                                                                                                                                     D      Yes

                                                                                                                                     D       No            $ _ _ __
                                                                                                                                     D      Yes

                                                                                                                                     D       No          +$_ _ __
                                                                                                                                     D      Yes

      33e. Total average monthly payment. Add lines 33a through 33d. ....................................................                                  $       740.00    Cop~otal
                                                                                                                                                                             here""'7"       $       740.00


   34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
       or other property necessary for your support or the support of your dependents?

       ~        No. Go to line 35.
       D       Yes. State any amount that you must pay to a creditor, in addition to the payments
                    listed in line 33, to keep possession of your property (called the cure amount).
                    Next, divide by 60 and fill in the information below.

                         Name of the creditor                         Identify property that                       Total cure                              Monthly cure
                                                                      secures the debt                             amount                                  amount

                                                                                                               $                         +60 =             $

                                                                                                               $                         +60 =             $

                                                                                                               $                         +60 =           +$

                                                                                                                                                                             Copy total
                                                                                                                                           Total           $                                 $
                                                                                                                                                                             here+


   35. Do you owe any priority claims such as a priority tax, child support, or alimony -
       that are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

       lit" No.        Go to line 36.
       D       Yes. Fill in the total amount of all of these priority claims. Do not include current or
                    ongoing priority claims, such as those you listed in line 19.

                        Total amount of all past-due priority claims ................................................................ .                    $ _ _ __
                                                                                                                                                                             +   60 =        $ _ __


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                  First Name           Middle Name                  Last Name




   36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
       For more information, go online using the link for Bankruptcy Basics specified in the separate
       instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk's office.
       !if No.       Go to line 37.
       D      Yes. Fill in the following information.
                                                                                                                                                           $_ _ _ _
                      Projected monthly plan payment if you were filing under Chapter 13
                                                                                                                                                                                                                            ~.-:i...;......;·j
                      Current multiplier for your district as stated on the list issued by the
                                                                                                                                                                                                                                           ...
                      Administrative Office of the United States Courts (for districts in Alabama and
                      North Carolina) or by the Executive Office for United States Trustees (for all
                      other districts).                                                                                                                X
                      To find a list of district multipliers that includes your district, go online using the
                      link specified in the separate instructions for this form. This list may also be
                      available at the bankruptcy clerk's office.
                                                                                                                                                           $ _ _ __                  Copy total        $ _ __
                      Average monthly administrative expense if you were filing under Chapter 13
                                                                                                                                                                                     here+




   37. =lf~~r::,~;-:u~~:'s~ord·e·~pay~~"~·····························································································································                              ~
   Total Deductions from Income


   38. Add all of the allowed deductions.

      Copy line 24, All of the expenses allowed under IRS                                             $          3,865.00
      expense allowances .....................................................................

      Copy line 32, All of the additional expense deductions ........ ..                              $                  0.00

      Copy line 37, All of the deductions for debt payment.............                              +$             740. 00

                                                                    Total deductions                  $          4,605.00                      Copy total here ............................... -+      $       4,605.00

                    Determine Whether There Is a Presumption of Abuse


   39. Calculate monthly disposable income for 60 months                                                                                                                                                           f,,,';.:¾f•"i,h:,,.,t;'I~'<•'··"'~·~




        39a.     Copy line 4, adjusted current monthly income .....                                  $          1,165.00

        39b.     Copy line 38, Total deductions ..........                                       -    $         4,605.00

        39c.     Monthly disposable income. 11 U.S.C. § 707(b)(2).                                   $        -3,440.00                        Copy                          -3,440.00
                                                                                                                                                                    $
                 Subtract line 39b from line 39a.                                                                                              here+



                                                                                                                                                                                                       ~
                  For the next 60 months (5 years) ...........................................................................................................
                                                                                                                                                                    x60
        39d. Total. Multiply line 39c by 60 ...................................................................................................................     $-
                                                                                                                                                                      206 , 400.0C           Cop~
                                                                                                                                                                                             here""7   $-206,40      -ii

  40. Find out whether there is a presumption of abuse. Check the box that applies:

       [;l'   The line 39d is less than $8, 175*. On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go to
              Part 5.

       D      The line 39d is more than $13,650*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You
              may fill out Part 4 if you claim special circumstances. Then go to Part 5.

       CJ     The line 39d is at least $8, 175*, but not more than $13,650*. Go to line 41.

              * Subject to adjustment on 4/01/22, and every 3 years after that for cases filed on or after the date of adjustment.

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                 First Name            Middle Name                   Last Name




   41. 41a. Fill in the amount of your total nonpriority unsecured debt If you filled out A
            Summary of Your Assets and Uabilities and Certain Statistical Information Schedules
            (Official Form 106Sum), you may refer to line 3b on that form ........................................................... .                                 $ _ _ __

                                                                                                                                                                        X    .25

           41b. 25% of your total nonpriority unsecured debt 11 U.S.C. § 707(b)(2)(A)(i)(I).
                Multiply line 41a by 0.25 ...........................................................................................................................
                                                                                                                                                                        $ _ _ __
                                                                                                                                                                                        Copy
                                                                                                                                                                                        here+~-·
                                                                                                                                                                                                  1.7
   42. Determine whether the income you have left over after subtracting all allowed deductions
       is enough to pay 25% of your unsecured, nonpriority debt
       Check the box that applies:

        CJ   Line 39d is less than line 41 b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
             Go to Part 5.

        CJ   Line 39d is equal to or more than line 41 b. On the top of page 1 of this form, check box 2, There is a presumption
             of abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5.




                Give Detalls About Speclal Circumstances

43. Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no
    reasonable alternative? 11 U.S.C. § 707(b)(2)(8).

   CJ   No. Go to Part 5.

   CJ   Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment
             for each item. You may include expenses you listed in line 25.


              You must give a detailed explanation of the special circumstances that make the expenses or income
              adjustments necessary and reasonable. You must also give your case trustee documentation of your actual
              expenses or income adjustments.

                                                                                                                                                                        Average monthly expense                      ,al?;\
               Give a detailed explanation of the special circumstances
                                                                                                                                                                        or income adjustment

                                                                                                                                                                        $ _ _ _ _ __


                                                                                                                                                                        $ _ _ _ _ __


                                                                                                                                                                        $ _ _ _ _ __


                                                                                                                                                                        $ _ _ _ _ __




•iii          Sign Below


              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.



              x~~~                                                                                                          X
                                                                                                                                  Signature of Debtor 2


                                                                                                                                  Date _ _ _ _ _ __
                  Date /       ,         ....... -·
                          M                                                                                                               MM/ DD          /YYYY



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B 201B (Form 201B) (12/09)


                                UNITED STATES BANKRUPTCY COURT
                                                       Southern District of Ohio

In re Troy Dorrell Myers                                                            Case No. - - - - - -
                      Debtor
                                                                                    Chapter _7_ _ _ _ __



                             CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                 UNDER§ 342(b) OF THE BANKRUPTCY CODE


                                  Certification of [Non-Attorney] Bankruptcy Petition Preparer
         I, the [non-attorney] bankruptcy petition preparer signing the debtor's petition, hereby certify that I delivered to the debtor the
attached notice, as required by § 342(b) of the Bankruptcy Code.

 Troy Dorrell Myers
Printed name and title, if any, of Bankruptcy Petition Preparer                     Social Security number (If the bankruptcy petition
Address: 8055 Mt. Aetna St.                                                         preparer is not an individual, state the Social Security
          Huber Heights, Ohio 45424                                                 number of the officer, principal, responsible person, or
                                                                                    partner of the bankruptcy petition preparer.) (Required
X- - - - - - - - - - - - - - - - - - -                                              by 11 U.S.C. § 110.)

Signature of Bankruptcy Petition Preparer or officer,
principal, responsible person, or partner whose Social
Security number is provided above.




                                                         Certification of the Debtor
          I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.

 Troy Dorrell Myers
Printed Name(s) ofDebtor(s)
                                                                          X, - - , ~ - - - - r : : : = . ~      ;f/25J?e,~ Date

Case No. (if known) _ _ _ _ _ _ _ __                                      X
                                                                           - - - - - - - - - - - - - - -Date
                                                                          Signature of Joint Debtor (if any)
                                                                                                             ----



Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under§ 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
NOT been made on the Voluntary Petition, Official Form Bl. Exhibit Bon page 2 of Form Bl contains a certification by the
debtor's attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy
petition preparers on page 3 of Form B 1 also include this certification.




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